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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                       CENTRAL DIVISION

SIERRA CLUB AND                             )
NATIONAL PARKS CONSERVATION                 )
ASSOCIATION,                                )
                 Plaintiffs,                )
                                            )
    V.                                      )     NO. 4:18-cv-00854-KGB
                                            )
ENTERGY ARKANSAS, LLC, ENTERGY              )
POWER, LLC, AND ENTERGY                     )
MISSISSIPPI, LLC,                           )
                  Defendants.               )


               OPENING SUPPLEMENTAL BRIEF OF
         THE ARKANSAS AFFORDABLE ENERGY COALITION




                EXHIBIT A
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                                    Office of Air Quality

                                    STATE OF
                                    THE AIR
                                    2019
                                    Retrospec
Arkansas Department of
Energy and Environment
Division of Environmental Quality

  5301 Northshore Drive
   North Little Rock, AR 72118
 501-682-0744
  www.adeq.state.ar.us/air
📧 https://www.adeq.state.ar.us
  /air/forms/questions.aspx                                            EX. A - 1
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               In memory of Paul Hairston
           DEQ Inspector, Fayetteville Area Office




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FOREWORD
Dear Reader,
On behalf of the Office of Air Quality (OAQ) team, thank you for taking the time to
read the 2019 State of the Air Report. Protecting the State’s air quality is not only a
benefit for the health of all Arkansans, but also important for preserving the great
outdoors in a state that cherishes hunting, hiking, fishing, and other recreational
activities. Two of our State’s largest economic sectors, agriculture and tourism,
benefit from the long-term improvements in air quality that are reflected in this
report.
In every corner of the state, Arkansas’s air quality meets health-based standards set
by EPA for all criteria pollutants (six common outdoor air pollutants that can harm
health, the environment, and property). Concentrations of these criteria pollutants
are trending downward. Visibility trends in Arkansas scenic wilderness areas,
particularly Caney Creek and Upper Buffalo Wilderness Areas, show continued
improvement as emissions of visibility impairing pollutants are reduced.
I am proud of the work of each and every hard working public servant in OAQ, and the
achievements in this report are a testament to that hard work. Because of the work of
OAQ permit engineers, Arkansas is among the most efficient state agencies in speed
of permit issuance. OAQ scientists and policy developers work to establish plans to
ensure that air quality in Arkansas continues to meet the state’s goals. Compliance
and asbestos inspectors inspect regulated facilities and investigate complaints to
assess compliance with air quality rules. Enforcement analysts work with the
regulated community to expeditiously address areas of concern and bring regulated
entities into compliance.
However, our work is far from done. OAQ will continue to work to provide efficient
and responsive services to the public, to engage with our federal partners, and to
work with stakeholders to protect and enhance the Natural State’s air quality while
fostering responsible economic growth.
Sincerely,




William K. Montgomery, J.D.
Interim Associate Director, Office of Air Quality


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List of Acronyms
APC&EC – Arkansas Pollution Control and Ecology Commission
AQI – Air Quality Index
CO – Carbon monoxide
CO2 – Carbon dioxide
DEQ – Division of Environmental Quality, within the Arkansas Department of Energy
            and Environment
EASE – Efficiency and Streamlining Effort
EPA – U. S. Environmental Protection Agency
FIP – Federal implementation plan
FFY – Federal fiscal year (in this report, October 1, 2018-September 30, 2019)
HAP – Hazardous air pollutants
NAAQS – National ambient air quality standards
NH3 – Ammonia
NOI – Notice of Intent
NOV – Notice of Violation
NOx – Nitrogen oxides
OAQ – Office of Air Quality, within the Division of Environmental Quality
PM10 – Coarse particulate matter
PM2.5 – Fine particulate matter
SAFER - State Agency Fleet Emissions Reductions
SIP – State implementation plan
SOx – Sulfur oxides
SO2 – Sulfur dioxide
VOCs – Volatile organic compounds
WRF – Weather research and forecasting



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Introduction to the Office of Air Quality
Who We Are                                                BRANCHES

The OAQ consists of four branches: Permits,
                                                        PERMITS
Compliance, Policy and Planning, and Asbestos and      The Permits Branch implements a
Enforcement. Each branch of the OAQ has specific       single-permit system for new and
duties and addresses various aspects of the air        modified facilities that
program. The OAQ team is composed of scientists,       encompasses both State and
engineers, inspectors, attorneys, and administrative   federal regulatory requirements for
                                                       stationary sources.
professionals.
                                                        COMPLIANCE
                                                       The Compliance Branch
                                                       investigates whether permitted
                                                       facilities operate in accordance
                                                       with State and federal air pollution
                                                       regulations, as specified in each
                                                       facility’s permit. The Compliance
                                                       Branch also investigates citizen
                                                       complaints regarding air pollution
                                                       and responds to emergency
                                                       situations
                                                        POLICY AND PLANNING
                                                       The Policy and Planning Branch is
                                                       responsible for developing plans to
What We Do                                             comply with State statutes and
                                                       federal air regulations. The Policy
    Develop and implement programs designed to        and Planning Branch also collects
     ensure compliance with federal air quality        technical information on air quality
     regulations                                       and emissions of air pollutants.
    Regulate emissions through a permitting            ASBESTOS AND
     program that sets emission limits protective of       ENFORCEMENT
     public health                                     Two distinct sections make up the
    Monitor ambient air quality in Arkansas through   Asbestos and Enforcement Branch.
     deployment and maintenance of a statewide         Asbestos ensures any demolitions
                                                       and asbestos-related renovations
     monitoring network                                occur in accordance with
    Investigate complaints and violations of State    Arkansas’s asbestos regulation.
     and federal air quality laws                      Enforcement implements and
    Prepare and issue air quality forecasts           enforces all State and federal air
                                                       pollution regulatory requirements.


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Permits Branch
The Permits Branch implements a single-
permit system for new and modified facilities
that encompasses both State and federal
regulatory requirements for stationary
sources. Permits include information on what
pollutants are being released, how much may
be emitted, and what steps the source's owner
or operator is taking to reduce pollution. All
permits include a mechanism to demonstrate               Image Credit: Dwight Burdette
compliance with the permit conditions. The
permitting process ensures that stationary
sources will be constructed or modified to
operate without resulting in a violation of the
Arkansas environmental statutes and                  TYPES OF AIR PERMITS
regulations and without interfering with the
attainment and maintenance of the national         MAJOR SOURCE/TITLE V
ambient air quality standards (NAAQS). Visit      For stationary sources of air pollutants
                                                  that have actual or potential emissions at
our website more information about OAQ’s
                                                  or above 100 tons per year of any criteria
Permits Branch:                                   pollutant, ten tons per year for a single
www.adeq.state.ar.us/air/permits/                 hazardous air pollutant (HAP) or twenty-
                                                  five tons per year for any combination of
                                                  HAPs, and for select categories of
                                                  facilities regardless of emission rates
                                                   MINOR SOURCE
                                                  Stationary sources required to obtain a
                                                  permit under Arkansas Pollution Control
                                                  and Ecology Commission (APC&EC)
                                                  regulations, but do not meet any major
                                                  source thresholds
                                                   GENERAL PERMITS
                                                  Standardized permits for air curtain
                                                  incinerators, animal/human remains
                                                  incinerator facilities, cotton gins,
                                                  gasoline bulk plants, hot mix asphalt
                                                  facilities, natural gas compression
       Permitted Stationary Sources in Arkansas   stations, and rock crushing facilities




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Minor Source Permitting Metrics
                                                           Figure 1 Number of FFY 2019 Minor Source Permitting
    During federal fiscal year (FFY) 2019,                 Activities
    the Permits Branch received 201                          90
    minor source permit applications and                     80
                                                             70
    issued 184 minor source permits.1                        60
    The average processing time for new                      50
                                                             40
    and modified minor source permits                        30
    was 163 days.                                            20
                                                             10
    Figure 1 (right) shows the breakdown                      0
    in permit activity type of minor
    source permit applications received
    and issued.



                                                                                    Received     Issued

Title V Source Permitting Metrics
                                                           Figure 2 Number of FFY 2019 Title V Permitting Activities
    During FFY 2019, the Permits Branch




                                                                                                 .
                                                             60
    received 148 Title V permit
    applications and issued 107 Title V                      50

    permits/amendments. The average                          40




                                                                        mi
    processing time for a new, renewed,                      30
    or modified Title V permit was 229                       20
    days.                                                    10
    Figure 2 (right) shows the                                0
    breakdown in permit activity type of
    Title V permit applications received
    and issued.



                                                                                   Received     Issued




1
    Federal fiscal year 2019 denotes the U.S. government’s budgetary timeframe, October 1, 2018-September 30, 2019.


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Title V National Rankings

DEQ is among the top state regulatory agencies
                                                                            TITLE V ISSUANCE TIMELINESS
in the nation for timeliness of Title V permit
significant modification and renewal issuance.                             TITLE V RENEWALS
                                                                         The Clean Air Act considers Title V
Delays in issuance may result from late or                               renewals to be timely if they occur
incomplete applications or other factors that                            prior to the expiration of the existing
delay the permitting authority’s ability to                              permit. Permits that have not been
finalize action. The OAQ has engaged in a                                renewed by the expiration date are
number of efforts in the past few years to                               referred to as “outstanding renewal
streamline the permitting process to ensure                              permits.”
timely issuance of permits.                                                SIGNIFICANT MODIFICATIONS
                                                                         The Clean Air Act considers Title V
                                                                         significant modifications to be timely
                                                                         if they are issued within eighteen
                                                                         months of application submittal.

Title V Significant Modifications Rankings
According to data from the EPA National Title V Database (January–June 2019),
Arkansas is among the top state agencies for timeliness of Title V significant
modification issuance. All but one of Arkansas’s Title V significant modification actions
for that period were completed within eighteen months.
Figure 3 Comparison of State Air Permitting Authority Timeliness for Issuance of Title V Significant Modifications

12


10


 8


 6


 4


 2


 0
     NH GA CT LA NM AK ID IN AR OK TN IL WV TX ME MO NC NV MS VA DE OR MN WI HI

                       Ratio Outstanding Significant Modifications to Total Significant Modifications



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Title V Renewal Rankings
According to data from EPA’s National Title V Database (January–June 2019), Arkansas
is among the top ten state agencies for processing time of Title V renewals. Figure 4
illustrates Arkansas’s ranking for Title V renewal timeliness in comparison with other
states.
Figure 4 Comparison of State Air Permitting Authority Timeliness for Issuance of Title V Renewals



     AK

    OK

     AR

    WV

     IA

      IL

     WI

     VA

     CT

     TX

    MO

     TN

    NH

    MS

    MN

    OR

     SC

    WA

    MA
       0.000          0.100          0.200          0.300         0.400          0.500          0.600        0.700
                                         Ratio Outstanding Renewals to Number of Title V Sources




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Compliance Branch
                                                          INSPECTOR DISTRICT CONTACTS

                                                        DISTRICT 1
                                                       Stephen Foster 479-424-0333
                                                       David Miesner 479-424-0333
                                                        DISTRICT 2
                                                       Jay Ellis 479-267-0811 ext. 11
                                                        DISTRICT 3
                                                       Keith Collins 870-793-4762
                                                       Coy Dobson 870-935-7221 ext. 11
                                                       Mitchel Kennedy 870-793-4762
                                                       Bryant Lamb 870-368-5053
                                                        DISTRICT 4
                                                       James Starling 870-733-3526
The Compliance Branch inspects permitted facilities     DISTRICT 5
to document whether owners and operators are           Alex Mathis 870-777-7585
complying with State and federal air pollution
regulations, as specified in each facility’s permit.    DISTRICT 6
                                                       Risa Parker 501-520-5762
This is accomplished through unannounced
compliance inspections, stack testing, and              DISTRICT 7
monitoring and reporting requirements.                 Jay Northern 870-862-5941
                                                       Tiffany Wooten 870-862-5941
The Compliance Branch inspectors also investigate
                                                        DISTRICT 8
citizen complaints regarding air pollution, respond    Lori Burke 501-682-0737
to emergency situations, and perform pre-              Caleb Fielder 501-682-0775
assessments of sites for open burning of vegetative    Mikayla Shaddon 501-682-0808
storm debris.                                          Curtis Stehle 501-683-0962
Arkansas has seventy-five counties, which are           DISTRICT 9
divided into nine inspection districts. The            Gary Bortz 501-682-0706
compliance districts are shown in the map above
and contacts for each district are given in the
sidebar to the right. Visit our website for more
information about OAQ’s Compliance Branch:
www.adeq.state.ar.us/air/compliance



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Compliance Branch Metrics
                                                Figure 5 FFY 2019 Air Compliance Inspections per District
Inspections
                                                                                        140
During FFY 2019, OAQ compliance branch
                                                                                        120
air inspectors performed 548 inspections of




                                                       Number of Inspections
                                                                                        100
minor sources and 124 inspections of Title
V sources.                                                                              80
                                                                                        60
Inspectors also performed 629 stack test
                                                                                        40
observations and reviewed 243 annual
compliance certifications and 486 semi-                                                 20

annual monitoring reports.                                                               0
                                                                                              1     2     3   4     5    6       7    8    9
                                                                                                         Inspector District
                                                                                         Title V Inspections       Minor Source Inspections


Air Pollution Complaints
DEQ provides citizens with multiple ways
                                                 Figure 6 FFY 2019 Complaint Investigations Per District
to file air pollution complaints, including
through the DEQ website (www.adeq.                                                      180
                                                                                                                                     168
                                                   Number of Complaint Investigations




state.ar.us/complaints/forms/air_complaint                                              160
.aspx) and via mobile applications.                                                     140

                               ANDROID APP ON                                           120

   •
       Download on the
       AppStore
                           ^   Google play                                              100
                                                                                        80              69
During FFY 2019, compliance air inspectors                                              60
                                                                                                   44
investigated 389 complaints.                                                            40    25                          26
                                                                                                               19              18


       Fugitive
                   Other
                    9%
                              Odor
                              10%
                                                                                        20
                                                                                         0    1
                                                                                              1     2    3
                                                                                                               rv
                                                                                                               4
                                                                                                                      8


                                                                                                                      5    6
                                                                                                                               —



                                                                                                                                7
                                                                                                                                     TT
                                                                                                                                     8
                                                                                                                                           4

                                                                                                                                           9
      Emissions
         8%                                                                                              Inspector District




                            Open
                           Burning
                            73%




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Asbestos Program
DEQ’s Asbestos Program ensures compliance with
State and federal asbestos rules through complaint
investigations, monitoring of demolition and
renovation projects, licensing and certifying of
asbestos professionals, and conducting outreach
demonstrations. Arkansas asbestos regulations are
contained in Regulation No. 21. Asbestos is also
regulated as a hazardous air pollutant by the EPA.
The Asbestos Program also administers the
Arkansas Asbestos Abatement Grant Program,
which assists small cities and counties to clean
up and stabilize structurally-impaired buildings
                                                          Magnified Photo of Asbestos Fibers
containing friable asbestos. Visit DEQ’s website
for more information about OAQ’s Asbestos
Program:
www.adeq.state.ar.us/air/program

What is Asbestos?

Asbestos is a naturally occurring mineral substance, which over thousands of years
has proven to be very useful and durable. Because of its resistance to heat, asbestos
has been used in commercial applications such as cigarette filters, car brakes, building
materials (insulation, flooring, roofing, piping, etc), fire-proof clothing, and stage
curtains. While it seemed to be an all-purpose material, asbestos also proved to be
detrimental to human health by causing diseases such as lung cancer, asbestosis, and
mesothelioma. In 1971, the EPA deemed asbestos to be a hazardous air pollutant. In
1993, the APC&EC developed Regulation No. 21, which sets forth regulations
pertaining to the handling of asbestos.
Although asbestos is no longer mined in the United States, it still has a variety of uses
that are now regulated to ensure public safety. Through education, the public is
learning to leave undamaged asbestos-containing material alone. It poses little harm
when the fibers are not disturbed and broken into inhalable pieces that can ultimately
attach to the pulmonary system and cause incurable illness.



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Asbestos Metrics
                                                         Figure 7 FFY 2019 Asbestos Worker Certifications by
Complaints                                               Type
                                                            450
During FFY 2019, Asbestos inspectors
                                                                                   400
investigated fifty-two complaints.
                                                                                   350




                                                  Number of Certifications
                                                                                   300
                                                                                   250
Licenses and Certifications
                                                                                   200
During FFY 2019, DEQ issued 381                                                    150
asbestos worker certifications, fifty-four                                         100
contracting firm licenses, thirty-nine                                              50
                                                                                     0
consulting firm licenses, and twenty
training firm licenses. Figure 7 (top
right) shows the certifications issued by
type.


Notice of Intent (NOI) Submissions and
Inspections                                              Figure 8 FFY 2019 Asbestos NOI Submissions by Type

During FFY 2019, DEQ received 683                                                  400
NOIs for demolitions and renovations
                                                                                   350
pursuant to Arkansas asbestos rules and
performed 135 inspections pursuant to                                              300
                                                       Number of NOI Submissions




NOIs received. Figure 8 (bottom right)                                             250
breaks down the type of NOI                                                        200
submissions received and inspections.
                                                                                   150

                                                                                   100
Arkansas Asbestos Abatement Grant
                                                                                    50
The Arkansas Asbestos Grant Program is a
                                                                                     0                                 1
competitive grants program to assist cities
and counties with abatement, stabilization,
and remediation in asbestos-related
activities. In FFY 2019, DEQ awarded Dallas
County $33,189 to clean up a condemned                                                   Submissions   Inspections
nursing facility. Visit our website for more
information about the program:
www.adeq.state.ar.us/air/program/asbestos/grant


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Enforcement
The Enforcement Section is responsible for                                               TYPES OF ENFORCEMENT
                                                                                         ACTIONS
administering consistent, appropriate, and timely
enforcement of State and federal air pollution                                         INFORMAL
laws. This section provides support and                                               Actions taken using a letter
assistance on OAQ enforcement issues                                                  detailing violations that do not
designated for formal and informal enforcement                                        warrant a formal enforcement
action. These enforcement actions are taken in                                        action, but require corrective
                                                                                      action
response to case referrals from the Asbestos
Section, the Compliance Branch, and the Permit                                         FORMAL
Branch. The enforcement process helps facilities                                      Actions taken using legally-
                                                                                      binding consent administrative
successfully achieve compliance with State and
                                                                                      orders (CAOs) and/or notices of
federal standards and ensures compliance with                                         violation (NOVs) that incorporate
air pollution laws and regulations. Visit our                                         civil penalties, corrective actions,
website more information about OAQ                                                    and other terms
Enforcement: www.adeq.state.ar.us/air/program


Enforcement Metrics
                                               Figure 9 FFY 2019 Enforcement Actions Completed
During FFY 2019, ninety-six cases were
referred to the Enforcement Section. Thirty-                                     60
eight cases were handled informally. Fifty-
                                                                                 50
eight CAOs were issued to resolve formal
enforcement actions. No NOVs were issued
                                                 Number of Enforcement Actions




                                                                                 40
during this time period.
Figure 9 (right) breaks down the types of                                        30
enforcement actions by media included in
                                                                                 20
OAQ during FFY 2019.
                                                                                 10


                                                                                  0              T                 T                1

                                                                                      Informal       NOV Issued        CAO Issued
                                                                                       Actions
                                                                                             Asbestos        Air




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Policy and Planning Branch
Among other duties, the Policy and Planning              CORE RESPONSIBILITIES
Branch is responsible for gathering information on
                                                        EMISSIONS INVENTORY
current and projected emissions trends, analyzing
air quality data, and developing state plans to help    AIR QUALITY MODELING
maintain clean air in Arkansas. The Branch also         AIR QUALITY FORECASTING
provides technical expertise to the other branches      AIR QUALITY MONITORING
of the OAQ and helps to educate the public about        STATE PLAN DEVELOPMENT
air quality issues.
                                                        REGULATORY INITITATIVES
Visit our website more information about
                                                        VOLUNTARY EFFORTS
OAQ’s Planning Branch:
www.adeq.state.ar.us/air/planning


Emissions Inventory

During 2019, the Emissions Inventory team                EMISSIONS REPORTING
collected and verified submissions of industry
                                                        TYPE A SOURCE
emissions data from Type A sources. These              Permitted to emit ≥ 2500 tons per
emissions data must be submitted to EPA for            year of sulfur oxides (SOx), nitrogen
inclusion in the national emissions inventory (NEI).   oxides (NOx), or carbon monoxide
                                                       (CO); or
Sixty-six Type A sources submitted emissions
                                                       Permitted to emit ≥ 250 tons of
reports for 2018 in 2019.                              volatile organic compounds (VOCs),
No Type B sources submitted emissions reports in       coarse particulate matter (PM10), fine
                                                       particulate matter (PM2.5), or
2019. These reports were last filed in 2018 and are    ammonia (NH3).
not due again until 2021.                              Report emissions every year
Trends in pollutant emissions reported to the NEI       TYPE B SOURCE
are included in Appendix C. Appendix C also            Permitted to emit ≥ 1000 tons per
presents trends in carbon dioxide (CO2) emissions      year of CO;
tracked by the United States Energy Information        Permitted to emit ≥ 100 tons per
Administration.                                        year of SOx, NOx, VOC, PM10, PM2.5,
                                                       or NH3; or
                                                       Have actual lead emissions ≥ 0.5 tons
                                                       per year.
                                                       Report emissions every three years



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Air Quality Modeling Achievements

In 2019, OAQ engaged in various modeling
efforts. For example, OAQ performed four                                              >60
CALPUFF modeling runs to support analyses
for a Prevention of Significant Deterioration
permit application. Using the EPA's MOVES
model, OAQ quantified the ozone precursor
pollutants being emitted by on-road mobile
sources in Crittenden County, AR. OAQ used      270                                                         90

python programming to develop sixteen
hodogram analyses to simultaneously
visualize wind vectors and affected pollutant
concentrations within a single plot. OAQ also
completed 715 runs of HYSPLIT modeling in
support of an ozone transport plan.             Concentrations                        180


OAQ acquired specialized computers for
                                                  •-   M
                                                        **ng
                                                       < 50 ppO
                                                                        »ippe
                                                                    76 80 pc >
                                                                             *

conducting mesoscale weather research and
                                                       5155 Pt

                                                           -
                                                               *
                                                       56 60 ppt»
                                                                      -
                                                                    81 90 ppb

                                                                    91- 100 ppt .
forecasting (WRF) evaluations and CAMx           Q     61 65 ppO    > 100 POP


                                                 Q     66 70 pp6


atmospheric        chemistry        modeling
                                                                    Hodogram Analysis
simulations. This technology will allow OAQ
staff to investigate pollutant origins and
simulate changes in atmospheric pollutant
concentrations.

Air Quality Forecasting

Policy and Planning Branch technical staff
produce air quality forecasts for northwest                                 Level of Health
                                                 AQI Value                                         Colors
and central Arkansas. Forecasts are created                                    Concern
by using meteorological data and pollutant            0 to 50                         Good         Green
concentration data to estimate ozone and          51 to 100                         Moderate       Yellow
fine particulate matter. These estimates are                              Unhealthy for
                                                 101 to 150                               Orange
then translated into an Air Quality Index                                Sensitive Groups
(AQI). The AQI is color-coded to indicate the    151 to 200                         Unhealthy       Red
level of health concerns for the forecasted      201 to 300                Very Unhealthy          Purple
pollutant concentrations.                        301 to 500                         Hazardous      Maroon




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Air Quality Monitoring

Ambient air quality monitoring data
show that the entire state of Arkansas                       Arkansas Ambient Air Monitoring Network
is in attainment with all NAAQS.
                                                                                                            -(
Figure 10 below compares statewide
average air quality conditions to the
NAAQS. More information about
Arkansas’s Ambient Air Monitoring
Network and trends in criteria
pollutant monitoring data and
visibility trends are included in
Appendix B. OAQ also deploys special
purpose air quality monitors from
time to time to evaluate specific air
quality concerns raised by citizens.


Figure 10 2018 Arkansas Statewide Average Air Quality Compared to the NAAQS

 120%


 100%                                             Federal Standard
           87%

  80%                71%

                                 53%
  60%

                                                           39%
  40%                                                                                                       30%

                                                13%
  20%
                                                                          9%                  9%
                                                                                    3%
   0%                                     T                         T           T                     T

         8-Hour   Annual Fine 24-Hour          Annual     1-Hour         8-Hour   1-Hour    1-Hour        24-hour
         Ozone     Particles    Fine          Nitrogen   Nitrogen        Carbon   Carbon     Sulfur        Coarse
                              Particles       Dioxide    Dioxide        Monoxide Monoxide   Dioxide       Particles


        Good                                             Cautious                           Risk of Exceedance




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State Plan Development

The Arkansas state implementation plan (SIP)            FY 2019 SIP ACTIONS
demonstrates how the State will implement
                                                       PHASE III REGIONAL HAZE
Clean Air Act requirements under State                -Addresses Regional Haze requirements
statutes and rules. The SIP covers multiple           for Domtar Ashdown Mill
program areas including implementation of the         -Submitted to EPA August 2019
NAAQS, addressing interstate pollution
transport obligations, and ensuring protection         PERMIT FLEXIBILITY
of visibility in designated Class I wilderness        -Addresses program permit flexibility
areas and national parks.                             provisions
                                                      -EPA final approval August 2019
OAQ staff frequently revises the SIP to comply
with new federal regulations and changes to            PHASE II REGIONAL HAZE
Arkansas law. All SIPs are made available for         -Addresses SO2 and PM control
public comment prior to finalization. EPA             requirements for electric generating units
reviews plan submissions and approves or              -EPA final approval and withdrawal of FIP
disapproves each plan in whole or in part. In         September 2019
FFY 2019, OAQ worked on several SIP
revisions, as detailed in the sidebar to the right.    2015 OZONE INFRASTRUCTURE SIP
                                                      -Addresses Clean Air Act programmatic
In FFY 2019, OAQ also worked closely with EPA         requirements for the 2015 ozone NAAQS
to resolve issues related to air plans while          - Submitted to EPA in October 2019
ensuring the State complies with the NAAQS.
This was part of a nationwide effort to reduce         2015 OZONE TRANSPORT SIP
the backlog of previous SIP submissions to            -Addresses Clean Air Act “good neighbor”
EPA. Through this collaboration, the backlog          requirements for the 2015 ozone NAAQS
for the State’s previous SIP submissions was          -Proposed in April 2019 and submitted to
completely eliminated. Arkansas was the first         EPA in October 2019
state in EPA’s Region 6 to clear the SIP
backlog, and one of only three states                  REGIONAL HAZE FIVE-YEAR
                                                         PROGRESS REPORT
nationwide.                                           -Addresses Clean Air Act “good neighbor”
Visit our website for more information on SIP         requirements for the 2015 ozone NAAQS
actions in the state:                                 -EPA final approval October 2019
www.adeq.state.ar.us/air/planning/sip/




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Regulatory Streamlining Initiatives

Beginning in December 2018, OAQ’s Planning               2019 STATE LEGISLATION
Branch and Permitting Branch initiated the
                                                      Laws passed by the State
Efficiency and Streamlining Effort (EASE) to
                                                      Legislature in 2019 require revisions
engage stakeholders in focused workgroups to
                                                      to the State’s pollution control
discuss and to make recommendations for
                                                      regulations:
revisions to the rules and permitting procedures
that will benefit industry, the agency’s staff, and    ACT 315 OF 2019
the public.                                           -Eliminated references to “regulations” to
                                                      provide for consistent references to “rules”
The primary goals for the consensus-driven            throughout Arkansas Code
effort are to:
                                                       TRANSFORMATION AND
 Remove or update outdated provisions                   EFFICIENCIES ACT OF 2019
  including references to programs that no            -Reduced the number of cabinet-level
  longer exist, provisions that are no longer         agencies from 42 to 15
  applicable, facility names that have changed,       -Restructured the Arkansas Department of
  and vacated and/or stayed provisions,               Environmental Quality as a Division of
                                                      Environmental Quality under the new
 Resolve inconsistencies between                     Department of Energy and Environment
  Regulations 18, 19, 26, and 31 and State
  statutes, other APC&EC rules, and federal            ACT 820 OF 2019
  rules, and                                          -Required state agency licensing bodies to
                                                      provide automatic or expedited-by-rule
 Increase efficiency in future permitting and        process for returning military veterans and
  regulatory revision actions.                        their spouses
Suggestions by the group included structuring         -Affects Arkansas Asbestos Abatement
                                                      Regulation 21 and DEQ certification and
all rules consistently, removing arbitrary dates
                                                      licensing of asbestos abatement
and expired or outdated provisions, and               professionals
creating an online permitting guide hyperlinked
to examples to assist applicants. OAQ’s Policy
and Planning Branch began preparing drafts of
APC&EC air quality Rules 18, 19, 26, and 33 to
incorporate the suggestions made by the EASE
Collaborative. OAQ will continue work with
EASE members into FFY 2020 on these and
other identified streamlining priorities.




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Voluntary Efforts

Volkswagen Environmental Mitigation           DEQ PLANNED PROGRAMS UNDER
                                              BENEFICIARY MITIGATION PLAN
Trust
As a result of two partial consent decrees    ADVANCED BUS AND CLEAN
                                               TRANSPORTATION PILOT
in a case filed against the Volkswagen
                                               Pilot to replace aging diesel school and
corporation for alleged violations of the
                                               transit buses with new alternative-fueled
federal Clean Air Act, Arkansas has been       buses
allocated $14,647,709 to award to projects
that reduce emissions from motor              CLEAN FUELS
                                               Competitive funding assistance program to
vehicles.                                      repower or replace aging diesel Class 4–8
On June 3, 2019, DEQ submitted an              freight and drayage trucks and buses with
                                               new alternative-fueled engines or vehicles
amended Beneficiary Mitigation Plan to
the Trustee; this Plan amendment              ELECTRIC VEHICLE INFRASTRUCTURE
supersedes the June 2018 submission.           Rebate program for installations of level 2
                                               and DC Fast electric vehicle chargers
Funds awarded as a result of the
Volkswagen Settlement are being used to       STATE AGENCY FLEET EMISSION
                                               REDUCTIONS (SAFER)
reduce NOx emissions in Arkansas.
                                               Funding assistance for State agencies to
In FFY 2019, DEQ began accepting               repower or replace aging diesel Class 4 – 8
applications for two new programs funded       freight and drayage trucks
by the settlement with Volkswagen. The        GO RED!
Clean Fuels and State Agency Fleet             Volkswagen funds will be used to
Emissions Reductions (SAFER) programs          supplement DEQ’s existing Go RED! program
will mitigate emissions from aging diesel
engines through vehicle replacement and
by repowering vehicles with cleaner-fuel
engines. Volkswagen settlement dollars
were also used to fund additional projects
for DEQ’s GoRED! program. Additional
programs will be under development
during FFY 2020.
Visit our website for more information
about the program:
www.adeq.state.ar.us/air/planning/vw.aspx




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Go RED!                                         Table 1 FFY 2019 Go RED! Funding Assistance Recipients

The Go RED! program is a competitive              RECIPIENT            PROJECT TYPE            AMOUNT
funding assistance program that awards                              Replaced two school
                                                  Barton-Lexa                                   $42,431
funding for projects that reduce emissions                                 buses
from diesel engines in Arkansas. The                                Replaced two school
                                                    Clinton                                     $41,485
                                                                           buses
program is largely funded by the EPA’s
                                                                    Replaced one school
State Clean Diesel Grant Program, under           County Line
                                                                            bus                 $22,646
the federal Diesel Emissions Reduction                              Replaced one school
                                                    Hackett                                     $21,869
Act.                                                                        bus
                                                                    Replaced one school
                                                    Horatio                                      $23,337
Public, private, and nonprofit entities in                                  bus
Arkansas are eligible to receive funding                            Replaced two school
                                                     Dover                                      $46,472
                                                                           buses
assistance for the installation of exhaust
                                                                    Replaced one school
controls, engine upgrades, idle reduction          Mayflower
                                                                            bus                 $18,742
technologies, engine replacements, and               Jasper      Replaced three school buses    $50,000
vehicle/equipment replacements.                                     Replaced two school
                                                  Bentonville                                   $50,000
                                                                           buses
In FFY 2019, DEQ awarded funding to ten                             Replaced one school
recipients to replace a total of sixteen         Heber Springs                                  $19,601
                                                                            bus
school buses, as detailed in Table 1 (right).                             TOTAL                $336,583




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Appendix A: National Ambient Air Quality
Standards
Introduction                                               CRITERIA POLLUTANTS

Setting the Standards                                     CARBON MONOXIDE (CO)
The Clean Air Act requires that the United States         LEAD
Environmental Protection Agency (EPA) set                 NITROGEN DIOXIDE (NO2)
national ambient air quality standards (NAAQS) for        OZONE
pollutants that are common to outdoor air and are
                                                          FINE PARTICULATES (PM2.5)
considered harmful to public health and the
environment. These pollutants, which are referred         COARSE PARTICULATES (PM10)
to as “criteria pollutants,” include ozone,               SULFUR DIOXIDE (SO2)
particulate matter, carbon monoxide (CO), lead,
sulfur dioxide (SO2), and nitrogen dioxide (NO2).
The EPA Administrator, in consultation with the            FEDERAL STATUTORY
Clean Air Scientific Advisory Committee, sets              REQUIREMENTS
primary and secondary NAAQS for each criteria
pollutant. The primary NAAQS is set at a level that       CLEAN AIR ACT § 108
                                                         Air Quality and Control Techniques
reduces the risk of harm so as to protect public
health, including sensitive populations, with an          CLEAN AIR ACT § 109
adequate margin of safety. The secondary NAAQS           National Primary and Secondary
                                                         Ambient Air Quality Standards
is set at a level that is protective of the public
welfare, including protection against decreased           CLEAN AIR ACT §110
visibility and damage to animals, crops, vegetation,     State Implementation Plans for
                                                         National Ambient Air Quality
and buildings.
                                                         Standards
Periodic Review
                                                          CLEAN AIR ACT §111
The NAAQS are reviewed every five years to               Standards of Performance for New
determine whether recent scientific data continue        Stationary Sources
to indicate that the level, form, and averaging time      CLEAN AIR ACT §§ 160-169B
of the current NAAQS are protective of public            Prevention of Significant
health. If the data show that the current level of the   Deterioration
NAAQS is not protective of public health with an          CLEAN AIR ACT §§ 171-193
adequate margin of safety, then the EPA must             Plans for Nonattainment Areas
revise the standard.




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Implementation
States must develop implementation plans to ensure that all areas of the state attain
and maintain any new or revised NAAQS. Areas in which the NAAQS for a particular
criteria pollutant is not being met are designated as nonattainment and require
additional planning efforts to improve air quality. The Governor makes nonattainment
designation recommendations and the EPA promulgates them. EPA classifies
nonattainment areas as marginal, moderate, serious, severe, or extreme, based on the
severity of the air pollution and the availability and feasibility of pollution control
measures. For each nonattainment area, the affected states must develop plans to
reduce pollutant levels in the air to achieve attainment with the NAAQS as
expeditiously as possible.
Table A-1 List of Current National Ambient Air Quality Standards
                    PRIMARY/           AVERAGING
 POLLUTANT                                                   LEVEL                     FORM
                   SECONDARY              TIME
                                         8-hour         9 parts per
 Carbon                                                               Not to be exceeded more than once
                                                          million
 Monoxide             Primary
                                          1-hour        35 parts per                per year
 (CO)
                                                          million
 Lead               Primary and      Rolling 3-month 0.15 micrograms
                                                                              Not to be exceeded
                     Secondary           average     per cubic meter
                      Primary             1-hour       100 parts per
 Nitrogen                                                            98th percentile, averaged over 3 years
                                                           billion
 Dioxide
                    Primary and           Annual        53 parts per
 (NO2)                                                                            Annual mean
                     Secondary                             billion
                    Primary and           8-hour                     Annual fourth-highest daily maximum
 Ozone                                                  70 parts per
                     Secondary                                        8-hour concentration, averaged over
                                                           billion
                                                                                     3 years
                      Primary             Annual      12 micrograms
 Fine                                                per cubic meter
                                                                     Annual mean, averaged over 3 years
 Particulate         Secondary            Annual      15 micrograms
 Matter                                              per cubic meter
 (PM2.5)            Primary and          24-hour     350 micrograms
                                                                     98th percentile, averaged over 3 years
                     Secondary                       per cubic meter
 Coarse             Primary and          24-hour
 Particulate         Secondary                       150 micrograms Not to be exceeded more than once
 Matter                                              per cubic meter    per year on average over 3 years
 (PM10)
                      Primary             1-hour                            99th percentile of 1-hour daily
                                                           75 parts per
 Sulfur                                                                   maximum concentration, averaged
                                                              billion
 Dioxide                                                                              over 3 years
 (SO2)               Secondary            3-hour          0.5 parts per   Not to be exceeded more than once
                                                             million                   per year




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Carbon Monoxide (CO)

CO can cause harmful health effects by                                        Symptoms of
reducing oxygen delivery to the body's                                  Carbon Monoxide Exposure
organs (like the heart and brain) and other
                                                                                                 Dizziness;
tissues. At extremely high levels, CO can
                                                                      Visual                     headache;
cause death.                                                                                     disorientation;
                                                                      Disturbances
                                                                                                 cerebral impairment;
People with several types of heart disease
                                                                                                 coma; seizures
already have a reduced capacity for
                                                                       Respiratory
pumping oxygenated blood to the heart,                                 disease                          Heart
which can cause them to experience                                                                      disease
myocardial ischemia (reduced oxygen to
the heart), often accompanied by chest                            Muscle
                                                                  weakness;                             Nausea
pain (angina), when exercising or under                           muscle
increased stress. For these people, short-                        cramps
term CO exposure further exacerbates their
body’s already compromised ability to
respond to the increased oxygen demands
of exercise or exertion. The primary
NAAQS is set to reduce the acute risks of
exposure to carbon monoxide
CO is a colorless, odorless gas emitted from                                SOURCES OF EMISSIONS
combustion processes. CO is primarily a
byproduct of incomplete combustion of                                      VEHICLES
fuels such as gasoline, natural gas, oil, coal,                            FIRE
and wood. CO emissions in Arkansas come                                    POWER PLANTS
primarily from fires, mobile sources, and                                  INDUSTRY
biogenic sources.2 Smaller contributions
come from industrial processes, fuel                                       FOSSIL FUEL COMBUSTION
combustion,       solvents,     and      other
miscellaneous sources.




2
    Source: 2014 National Emissions Inventory version 2 https://gispub.epa.gov/neireport/2014/



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Lead
                                                                               Symptoms of
Exposures to lead over a long period of
                                                                              Lead Exposure
time can cause deleterious effects on the
central nervous system. Lead exposure is                          Blindness;
                                                                                         Insomnia; irritability;
particularly harmful to children because                                                 cognitive defects;
                                                                  hallucinations
                                                                                         headache; delirium;
exposure         may          lead        to                   Unusual taste;            coma; depression;
neurodevelopmental impairment resulting                        slurred speech;           personality changes;
                                                               blue line along           memory loss;
in lowered intelligence quotients (IQ) and
                                                               gums
behavioral problems. According to the                                                          Anemia
                                                           Coordination
Centers for Disease Control, harmful                       loss; tremor; _
effects may also result from short-term                    muscle pain;                            Nausea
exposures to very high levels of lead. The                 convulsions;
                                                           weakness;
NAAQS is set at this level to reduce the                   seizure;
                                                                                                 Kidney failure
risk of long-term health effects due to lead              Pain and                                Abdominal
                                                                          I
exposure.                                                 tingling in                             pain; diarrhea;
                                                          extremities                             constipation
Lead is a naturally occurring element that
can be found in the air, water, and soil.
Although small levels of lead are naturally
occurring in soil, lead is also emitted into
                                                                        SOURCES OF EMISSIONS
the air during ore and metals processing
and combustion of fuels containing lead.                           AIRPORTS
In Arkansas, fifty-eight percent of lead                           VEHICLES BURNING LEADED
                                                                        FUELS
emissions are from aircraft running on
leaded fuel. The remaining forty-two                               ORE AND METALS PROCESSING
percent is from electricity generation and                         WASTE INCINERATORS
other industrial processes.3 Lead emitted
                                                                   POWER PLANTS
into the air can settle onto surfaces like
soil, dust and water where it can remain                           LEAD-ACID BATTERY
                                                                        MANUFACTURERS
for long periods because it does not decay
or decompose.                                                      LEAD SMELTERS




3
    Source: 2014 National Emissions Inventory version 2



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Ozone
                                                                  Symptoms of
At ground level, ozone is unhealthy to
                                                                 Ozone Exposure
breathe and can trigger various
respiratory and cardiovascular health                                              eadache
problems. In setting the level of the ozone    Burning eyes;
standard, EPA considers various clinical       irritated mucous                    Shortness of
                                               membranes                           breath; wheezing;
and epidemiological studies to evaluate
                                                                                   coughing
what level, averaging time, and form of       Asthma attacks;
the standard would be protective of                                                       Increased
                                              chest pain;
                                                                                          risk of
human health and public welfare. The          increased risk x
                                                                                          heart attacks
primary NAAQS is set to reduce the risk of    of respiratory
acute and chronic health effects due to       disease
                                                                                          Pulmonary
ozone exposure.                                                                           inflammation

Ozone is ubiquitous in the natural
environment. Ozone is formed by
photochemical      reactions   involving
                                                                       \


                                                                        vAV
nitrogen oxides (NOx), volatile organic
compounds (VOCs), and sunlight. The
formation of ozone is highly weather                                                 Ground Level
                                                                                   Ozone Formation
dependent, and ozone can be transported
long distances by wind.
VOCs can be emitted from both biogenic
(naturally occurring in organisms) and
                                              industrial processes,
anthropogenic (caused by people)              automobiles / trucks
                                              non- road vehicles,
sources. In Arkansas, approximately           generators

eighty-one percent of VOC emissions                   § jjes, manufacturing,
                                                refmeri                             rw      v , aa, uw

                                                gas stations , lawn                  (f     Compounds
come from biogenic sources, particularly        automobiles / trucks,
                                                non- road vehicles
trees, and only ten percent of emissions
come from sources regulated by State and             Pollutants "bake" together in
federal air quality programs. NOx is                direct sunlight forming ozone.

formed primarily by the combustion of         Image Credit: Harris County, Texas
fossil fuels.




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Nitrogen Dioxide (NO2)
                                                          Symptoms of
NO2 is one of a group of highly reactive
                                                Nitrogen Dioxide Exposure
gases known as “nitrogen oxides,” or
NOx. Other nitrogen oxides include
nitrous acid and nitric acid. EPA’s NAAQS      Difficulty
                                               breathing;
uses NO2 as the indicator for the larger       wheezing;
group of NOx. Exposure to NOx occurs           coughing
through inhalation. Scientific studies link
short-term NOx exposures, ranging from Asthma attacks;
thirty minutes to twenty-four hours, with aggravation of              Increased
                                                                      susceptibility
adverse respiratory effects including respiratory
                                                                      to respiratory
airway inflammation in healthy people symptoms                        infections
and increased respiratory symptoms in
people with asthma. Also, studies show a
connection between breathing short-
term elevated NOx concentrations and
increased      visits    to     emergency
departments and hospital admissions for
respiratory issues. This is especially true
for people with asthma. The primary
NAAQS is set to reduce the risk of acute
and chronic health effects due to                SOURCES OF EMISSIONS
exposure to NOx.
                                                VEHICLES
NOx forms quickly from emissions from
cars, trucks, buses, power plants, and off-     POWER PLANTS
road equipment. NOx may be                      OFF-ROAD EQUIPMENT
transported for long distances and may          INDUSTRY
react with other pollutants or water vapor      FIRES
to form secondary pollutants. NOx
emissions in Arkansas result primarily          FOSSIL FUEL COMBUSTION
from     mobile      sources    and    fuel
combustion. Smaller sources include
biogenic sources, industrial processes,
fires, solvents and other miscellaneous
sources.




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Sulfur Dioxide (SO2)

                                                              Symptoms of
SO2 is one of a group of highly reactive
                                                        Sulfur Dioxide Exposure
gases known as “oxides of sulfur.” Current
scientific evidence links short-term                                       Burning eyes;
                                                 Sore throat-              irritated mucous
exposures to SO2, ranging from five              sneezing; wheezing;   i   membranes
minutes to twenty-four hours, with an            coughing; shortness
array of adverse respiratory effects,            of breath
                                                                             Skin irritation
including    bronchoconstriction      and
increased asthma symptoms. These               Asthma attacks;
                                               bronchospasm;
effects are particularly important for         acute airway;                     Pulmonary
asthmatics at elevated ventilation rates       obstruction;                      edema;
(e.g., while exercising or playing). The       chest tightness                   pneumonitis;
                                                                                 aggravation of
primary NAAQS is set to reduce the risk of                                       pulmonary
acute and chronic health effects due to                                          diseases
                                                               i
exposure to SO2
While SO2 tends not to be transported
long distances in its original form, it does
react with other pollutants and water
vapor to form fine particulates and acidic
aerosols that may be transported long
distances. It also contributes to acid rain.
The largest sources of SO2 emissions are
                                                         SOURCES OF EMISSIONS
from fossil fuel combustion at power
plants and other industrial facilities.                INDUSTRY
Smaller sources of SO2 emissions include
                                                       POWER PLANTS
industrial processes, such as extracting
metal from ore, and the burning of high                VEHICLES AND HEAVY
                                                          EQUIPMENT THAT BURN HIGH
sulfur-containing fuels by locomotives,                   SULFUR CONTENT FUELS
large ships, and nonroad equipment.
                                                       VOLCANOES
SO2 emissions in Arkansas result primarily
from fuel combustion, with much smaller
contributions from fires, industrial
processes, mobile sources, solvents and
other miscellaneous sources.




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Particulate Matter (PM10 and PM2.5)

There are two size fractions of particulate      L                                             C PM 2.5
                                                                                       Combustion particles organic
                                                                                                                  .
                                                                                                              ,

                                                                      HUMAN HAIR
matter for which EPA sets NAAQS: PM10                                   5Q-70pm
                                                                                         compounds metals, etc
                                                                                                     ,


                                                                                       < 2.5 pm (microns) in diameter

and PM2.5. The primary NAAQS is set to
reduce the risk of acute and chronic                                                                     C PMio
health effects due to exposure to                                                                   Dust, pollen, mold, etc .
                                                                                                  <10 pm (microns ) in diameter
particulate matter.
PM10 particles are small enough to enter
the respiratory tract once inhaled.
                                                           90 pm (morons ) n dameter
Inhalation of PM10 can increase the                         FINE BEACH SAND

frequency and severity of asthma attacks,
cause or aggravate bronchitis and other       Image Credit:
                                              United States Environmental Protection Agency
lung diseases, and reduce the body’s
ability to fight infections. Certain
populations may be more sensitive to the
effects of particulate pollution than
others. These include children, the
                                                        < 100 pm
elderly, exercising adults, and those with              fraction.
                                              'Inhalable'

pre-existing lung diseases.                   Can enter the throat:
                                              Irritation
PM2.5 particles are microscopic solids and
liquid droplets that are small enough to          < 10 jam            —
penetrate deep into the lungs when            ‘ Thoracic’ fraction      .
                                              Past the bronchus:
inhaled. Scientific studies have linked       Acute disease                                               v

PM2.5 exposure to a number of adverse
health effects. These effects include the
                                                < 4 pm
following: premature death in people
                                              Respirable' fraction.
with heart or lung disease; nonfatal heart    Can reach the alveoli:
attacks; irregular heartbeat; aggravated      Chronic disease
asthma; decreased lung function; and             Image Credit: United States Geological Survey
increased respiratory symptoms, such as
irritation of airways, coughing, and
difficulty breathing.




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                                                               Symptoms of
PM10 and PM2.5 fractions of particulate
                                                           Particulate Exposure
matter      have     different     physical
characteristics and are emitted by                                         Fatigue
different sources. PM10 particles originate           Irritated eyes
from a variety of mobile and stationary               and nose
sources, and their chemical composition                                         Shortness of
                                                                                breath; wheezing;
varies widely. Actions that generate PM10      Asthma attacks;
                                                                                coughing
                                               chest tightness;
particles include grinding or crushing         increased risk
operations,      mineral       processing,     of respiratory
agricultural operations, fuel combustion,      disease
                                                                                  Decreased lung
and fires. PM2.5 is emitted directly from                                         function
                                              Increased risk
diesel engines, smelters, and other           of heart attack; | f
combustion sources. PM2.5 can also form       irregular
in the atmosphere due to complex              heartbeat

reactions of precursor compounds, such
as SO2 and NOx. PM2.5 may be composed
of sulfate, nitrate, ammonium, and/or
hydrogen ions. It may also contain
elemental carbon, metal compounds,
organic compounds, and particle-bound
water.                                                   SOURCES OF EMISSIONS

PM10 particles often settle in areas                   FIRE
relatively near their sources. However,                POWER PLANTS
smaller PM2.5 particles may stay
                                                       INDUSTRY
suspended in the atmosphere for long
periods of time and may be transported                 VEHICLES
hundreds of miles.                                     AGRICULTURE
In Arkansas, the primary sources of PM10               DUST
and PM2.5 are electricity generation via
fossil fuel combustion and pulp and paper
plants.




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Appendix B: Arkansas Air Quality Monitoring
Introduction

DEQ has monitored air quality in the State of
Arkansas for over thirty-five years. The
Division’s air monitoring network is composed
of various types of intermittent and continuous
monitors that are strategically located
throughout the state. Using the high-quality
information provided by the monitoring
network, DEQ can confirm that air quality
programs in the state are adequately protecting
public health and that environmental goals are
being achieved.                                                        Table B-1 Pollutants Monitored by Arkansas
                                                                       Ambient Air Quality Network
Arkansas’s ambient air quality monitoring
network is used to determine attainment with                                               NUMBER OF
                                                                       POLLUTANT                     LOCATIONS
                                                                                           MONITORS
the national ambient air quality standards                                                          Clark County
(NAAQS) for the following criteria pollutants:                                                      Crittenden County
ozone, particulate matter (PM2.5 and PM10),                                                         Newton County
                                                                       Ozone                   8
                                                                                                    Polk County
carbon monoxide (CO), sulfur dioxide (SO2), and                                                     Pulaski County
                                                                                                                   4
                                                                                                                      5
nitrogen dioxide (NO2). Attainment is                                                               Washington County
                                                                                                    Pulaski County
determined based on a comparison of time-                              PM10                    3
                                                                                                    Washington County
weighted averages (design values) to the level                                                      Arkansas County
of the NAAQS.                                                                                       Ashley County
                                                                                                    Crittenden County
There are also two particulate matter speciation                                                    Garland County
                                                                       PM2.5                   12   Jackson County
monitors in Arkansas that are part of the                                                           Polk County
IMPROVE network, which tracks visibility                                                            Pulaski County
                                                                                                    Union County
conditions in Class I national parks and                                                            Washington County
wilderness areas. In Arkansas, IMPROVE                                 CO                      1    Pulaski County
monitors are located in the Upper Buffalo                              NO2                     2
                                                                                                    Crittenden County
                                                                                                    Pulaski County
Wilderness Area and the Caney Creek                                    SO2                     1    Pulaski County
Wilderness Area.



4
    Pulaski County contains two monitors for Ozone, three for PM2.5, and three for PM10.
5
    Washington County contains two monitors for Ozone.



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Arkansas Ambient Air Quality Network

Determining Locations for Ambient Air Monitors
Ambient air monitoring networks are established according to federal requirements
based on total population in a metropolitan statistical area and the following factors:
   1.    Where the highest concentration is expected to occur in the area covered by
         the monitor (usually determined through modeling);
   2.    What the expected representative concentrations are in areas of high
         population density;
   3.    What impacts on ambient pollution levels significant sources or source
         categories may have; and
   4.    What the background concentration levels are.
Arkansas’s Ambient Air Monitoring Network is pictured below.

        Arkansas Ambient Air Monitoring Network

                   Sprii   lale

                                  Seville
                                                                        l
               .
          Roland OKI

                                                                            A larioi                                            North Little Rock
                                                                                                                                   QAirport
                                                                                                                       Pike Avenue


                                                                                                                 V A Hospital



                                                                                                                                              L
                                                                                                                           A    Doyle Springs
                                                                                                                                    Road
                                                                                                                                £
                                  intain                     Stuttgai
                                                                                           Present Network
                                                                                            S02
                                                                                            CO
                                            |EPA   -                                        Ozone
                                                                                            NOx
                                                                                       A    PM 10
                                                                                       A    PM 2.5 FRM
                                                                                       A    PM 2 5 TEOM Continuous
                                                                                            IMPROVE

                                                                                       ^    PM2.5 Speciation
                                                       ACrossett
                                                                                  o         NCORE Site




Periodic Review of Monitoring Network
DEQ reviews the Arkansas Ambient Air Monitoring Network each year to detail the
exact expected operation schedule for each monitor for the coming calendar year. The
network is evaluated every five years to determine whether the current number and
location of monitors meets DEQ’s environmental monitoring objectives and satisfies
federal monitoring requirements for each pollutant.



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Carbon Monoxide (CO)

                                          Monitor Network

Pollutant:            Carbon Monoxide

Method:               Instrumental/Non-
                      Dispersive Infrared
                      Photometry

Data Interval:         Hourly

Units:                Parts per million (ppm)




Arkansas is in attainment with the primary one-                NAAQS DESIGN VALUE
hour and primary eight-hour NAAQS for CO. This
                                                             ONE-HOUR PRIMARY NAAQS
attainment status is based on results from the              Thirty-five parts per million (35 ppm),
Arkansas CO ambient air monitoring network. No              not to be exceeded more than once
more than one observed (“Obs”) average value                per year
can exceed the level of the standard for each CO             EIGHT-HOUR PRIMARY NAAQS
NAAQS. Table B-2 provides a summary of CO                   Nine parts per million (9 ppm), not to
monitor activity for 2018. Figures B-1 and B-2              be exceeded more than once per year
illustrate trends relative to the corresponding
                                                             THERE ARE NO SECONDARY CO
NAAQS.                                                         NAAQS



Table B-2 2018 Arkansas CO Monitor Values Summary Data

                                           EIGHT-HOUR AVERAGES      ONE-HOUR AVERAGES
COUNTY SITE ADDRESS                #OBS           (ppm)                   (ppm)
                                         1st Max 2nd Max Obs > 9 1st Max 2nd Max Obs>35
          Pike Ave at River Rd,     8707     .9      .8     0       1.2     1.1     0
Pulaski
          North Little Rock




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The values contained in the figures below are displayed to the right of the figure along
with the slope and R2 value. The closer the R2 value is to one, the more confidence we
have in the slope’s indication of a positive or negative trend.
Figure B-1 Trends in Second Highest Observed One-Hour Average CO Concentration

                                     45
                                                                                                                 PULASKI
                                     40
                                                                                                         2009       1.9
   One-Hour Second Maximum (ppbm)




                                     35                                                                  2010       1.8
                                                                                                         2011       1.6
                                     30
                                                                                                         2012       1.9
                                     25                                                        >NAAQS    2013       1.4
                                     20                                                        <NAAQS    2014       1.4
                                                                                               Pulaski   2015       1.1
                                     15                                                                  2016       1.1
                                     10
                                                                                                         2017       1.7
                                                                                                         2018       1.1
                                      5                                                                  Slope   -0.0776
                                      0                                                                  R2       0.5172
                                          2009 2010 2011 2012 2013 2014 2015 2016 2017 2018




Figure B-2 Trends in Second Highest Observed Eight-Hour Average CO Concentration

                                     10
                                                                                                                 PULASKI
                                     9
                                                                                                         2009      1.5
   Eight-Hour Second Maximum (ppm)




                                     8                                                                   2010      1.6
                                      7                                                                  2011      1.4
                                                                                                         2012      1.4
                                     6
                                                                                              >NAAQS     2013        1
                                      5                                                                  2014      1.1
                                                                                              <NAAQS
                                     4                                                                   2015        1
                                                                                              Pulaski
                                                                                                         2016      0.8
                                      3
                                                                                                         2017      1.5
                                     2                                                                   2018       .8
                                      1
                                                                                                         Slope   -0.0673
                                                                                                         R2      0.4504
                                     0
                                          2009 2010 2011 2012 2013 2014 2015 2016 2017 2018




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Nitrogen Dioxide (NO2)

                                          Monitor Network

Pollutant:            Nitrogen Dioxide

Method:               Instrumental/Gas-Phase
                      Chemiluminescence

Data Interval:         Hourly

Units:                Parts per billion (ppb)




Arkansas is in attainment with all NO2 NAAQS.                   NAAQS DESIGN VALUE
This attainment status is based on results from
                                                              ONE-HOUR PRIMARY NAAQS
the Arkansas NO2 ambient air monitoring                      One-hundred parts per billion (100
network. Table B-3 provides a summary of NO2                 ppb), ninety-eighth percentile of one-
monitor activity for 2018. Figures B-3 and B-4               hour daily maximum concentrations
illustrate trends over the past ten years in                 averaged over three years
nitrogen dioxide design values relative to the                ANNUAL PRIMARY AND
corresponding NAAQS.                                             SECONDARY NAAQS
                                                             Fifty-three parts per billion (53 ppb),
                                                             annual mean


Table B-3 2018 Arkansas NO2 Monitor Values Summary Data

                                                                                  98TH
                                                                              PERCENTILE      ANNUAL
COUNTY             SITE ADDRESS                                    #OBS        ONE-HOUR        MEAN
                                                                               AVERAGE         (ppb)
                                                                                 (ppb)
Pulaski            Pike Ave at River Rd, North Little Rock    8703           42            7.31
Crittenden         LH Polk St and Colonial Dr, Marion         8719           38            7.09




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Figure B-3 Trends in Annual-Hour Nitrogen Dioxide Design Values

                                  70
                                                                                                                            PULASKI CRITTENDEN
                                  60
                                                                                                                       2009     9             9
   Annual Design Values (ppb)



                                  50                                                                                   2010     10            10
                                                                                                                       2011     10            10
                                  40                                                                      >NAAQS
                                                                                                                       2012     11            9
                                                                                                          <NAAQS       2013     10            8
                                  30
                                                                                                          Crittenden   2014     9             8
                                  20                                                                      Pulaski      2015     9              7
                                  10
                                                                                                                       2016      8             7
                                                                                                                       2017      8             7
                                   0                                                                                   2018      7             7
                                         nP
                                           AyO    A
                                                 nP nP
                                                      A
                                                          °^
                                                           A

                                                          or
                                                               }

                                                                   o;   a?
                                                                            Ay0    Ay
                                                                                  n?
                                                                                       ?
                                                                                           o?
                                                                                               A

                                                                                                ^\ o?SD                Slope -0.2970
                                                                                                                       R2    0.0564
                                                                                                                                           -0.3636
                                                                                                                                           0.8021


Figure B-4 Trends in in One-Hour Nitrogen Dioxide Design Values

                                  120                                                                                       PULASKI CRITTENDEN
                                  110                                                                                  2009     42            47
   One Hour Design Values (ppb)




                                  100                                                                                  2010     44            47
                                  90                                                                                   2011     46            46
                                  80                                                                      >NAAQS       2012     51            46
                                   70                                                                     <NAAQS
                                                                                                                       2013     50            42
                                  60                                                                                   2014     49            41
                                                                                                          Crittenden
                                  50                                                                                   2015     46            39
                                                                                                          Pulaski      2016     44            37
                                  40
                                   30
                                                                                                                       2017     42            37
                                                                                                                       2018     40            38
                                  20              T   T    T        T   T
                                                                                                                       Slope -0.0352       -1.3212
                                                           A°> A* A
                                                          A A A A            ^             A
                                                                                            AA v,?
                                                                                                   '                   R2     0.0833       0.9115




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Ozone

                                          Monitor Network

Pollutant:            Ozone

Method:               Ultra-Violet Photometry

Data Interval:         Hourly

Units:                Parts per million (ppm)


                                                                                            Out-of-state
                                                                                               monitor:
                                                                                             Roland, OK




Arkansas is in attainment with the ozone NAAQS.                 NAAQS DESIGN VALUE
This attainment status is based on data generated
                                                               EIGHT-HOUR PRIMARY AND
by the Arkansas ozone ambient air monitoring                     SECONDARY NAAQS
network. Table B-4 provides a summary of ozone               Seventy parts per billion (70 ppb or
monitor activity for 2018. Figure B-5 illustrates            0.070 ppm), annual fourth-highest
trends over the past ten years in ozone design               daily maximum eight-hour
values relative to the NAAQS in effect for that              concentration averaged over three
                                                             years
year.
Table B-4 2018 Arkansas Ozone Monitor Values Summary Data
                                                                                    DAILY MAXIMUM
                                                                                     EIGHT-HOUR
                                                                        VALID       AVERAGE (ppm)
     COUNTY                            SITE ADDRESS
                                                                        DAYS
                                                                                               OBS >
                                                                                  4TH MAX
                                                                                               0.070
      Clark              Lower Lake Recreation Area, Caddo Valley         272      0.062          0
   Crittenden                LH Polk St and Colonial Dr, Marion           275       0.07          3
    Newton                               AR Hwy 16                        274      0.062          0
      Polk                          463 Polk 631, Mena                    271      0.063          0
    Pulaski                Pike Ave at River Rd, North Little Rock        362      0.064          2
    Pulaski                    Remount Rd, North Little Rock              275      0.067          0
   Washington              600 South Old Missouri Rd, Springdale          275      0.064          0
   Washington               429 Ernest Lancaster Dr, Fayetteville         274      0.065          0



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Figure B-5 Trends in Eight-Hour Ozone Design Values

                        0.090


                        0.085


                        0.080
                                                                                                                             > NAAQS
                        0.075                                                                                                < NAAQS
   Design Value (ppm)




                                                                                                                             Clark

                        0.070                                                                                                Crittenden
                                                                                                                             Newton

                        0.065                                                                                                Polk
                                                                                                                             Pulaski
                                                                                                                             Washington
                        0.060


                        0.055


                        0.050                T              T                   T        T                T           1

                                  07–09 08–10 09–11 10–12       11–13   12–14       13–15 14–16   15–17       16-18




COUNTY                            07-09 08-10 09-11 10-12 11-13 12-14 13-15 14-16 15-17 16-18 SLOPE                                    R2
Clark                                                            0.063 0.062 0.058 0.057 0.057 0.058 -0.0015 0.7705

Crittenden                        0.074 0.077 0.079 0.076 0.071 0.066 0.067 0.066 0.066 0.068 -0.0013 0.6667

Newton                            0.066 0.068 0.069 0.067 0.065 0.062 0.059 0.057 0.057 0.058 -0.0013 0.8004

Polk                              0.07 0.073 0.073 0.071 0.067 0.065 0.062 0.062 0.062 0.061 -0.0014 0.8236

Pulaski                           0.07 0.074 0.077 0.076 0.071 0.066 0.064 0.063 0.063 0.064 -0.0013 0.5816

Washington 0.064 0.068 0.073 0.072 0.069 0.063 0.06                                          0.06     0.06            0.06 -0.0008 0.2608




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Sulfur Dioxide (SO2)


                                          Monitor Network

Pollutant:             Sulfur Dioxide

Method:                Instrumental Ultra-
                       Violet Fluorescence

Data Interval:         Hourly

Units:                 Parts per billion (ppb)




All areas of Arkansas are designated attainment,               NAAQS DESIGN VALUE
attainment/unclassifiable, or unclassifiable with all
                                                             ONE-HOUR PRIMARY NAAQS
SO2 NAAQS. There are no SO2 nonattainment                   Seventy-five parts per billion (75 ppb),
areas in Arkansas. Attainment status is based on            ninety-ninth percentile of one-hour
results from the Arkansas SO2 ambient air                   daily maximum concentrations
monitoring network described below and the SO2              averaged over three years
designations modeling. Table B-5 provides a                  THREE-HOUR SECONDARY
summary of SO2 monitor activity for 2018. Figure               NAAQS
B-6 illustrates the trend over the past ten years in        One-half part per million (0.5 ppm or
SO2 design values relative to the primary NAAQS.            500 ppb), not to be exceeded more
                                                            than once per year

Table B-5 2018 Arkansas SO2 Monitor Values Summary Data


                                                                          ONE-HOUR
  COUNTY                       SITE ADDRESS
                                                               # obs         99th Percentile (ppb)
   Pulaski        Pike Ave at River Rd, North Little Rock      8706                    6




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                                                          6
Figure B-6 Trends in One-Hour SO2 Design Values

    100

     90

     80

     70
                                                                                                    >NAAQS

     60
                                                                                                    <NAAQS

     50
                                                                                                    Pulaski
                                                                                                    County
     40
                                                                                                    Union
                                                                                                    County
     30

     20

     10

      0                                   T           T

          07-09   08-10   09-11   10-12       11-13       12-14   13-15   14-16   15-17   16-18




COUNTY            07-09 08-10 09-11 10-12 11-13 12-14 13-15 14-16 15-17 16-18 SLOPE                      R2
Pulaski            15    14    12     9     8     9    13    13     8     6   -0.6364                  0.3973
Union              26    27    25    26    24    27    24    26               -0.1310                  0.0729




6
    The Union County SO2 monitor was removed December 31, 2016.



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Coarse Particulate Matter (PM10)

                                          Monitor Network

Pollutant:            PM10

Method:               Gravimetric

Data Interval:         Twenty-Four Hour

Units:                Micrograms per cubic
                      meter (µg/m3)




Arkansas is in attainment with the PM10 NAAQS.                NAAQS DESIGN VALUE
This attainment status is based on results from the
                                                             TWENTY-FOUR HOUR PRIMARY
Arkansas PM10 ambient air monitoring network.                  AND SECONDARY NAAQS
Table B-6 provides a summary of PM10 monitor                One-hundred fifty micrograms per
activity for 2018. Figure B-7 illustrates trends over       cubic meter (150 µg/m3), not to be
the past ten years in maximum PM10 twenty-four              exceeded more than once per year on
hour concentrations relative to the PM10 NAAQS.             average over three years




Table B-6 2018 Arkansas PM10 Monitor Values Summary Data

                                                                  DAILY MAXIMUM
                                                            VALID
COUNTY          SITE ADDRESS                                      AVERAGE (µG/M3)
                                                            DAYS
                                                                  1ST MAX 2ND MAX
Pulaski         Pike Ave at River Rd, North Little Rock       61      65          51
Pulaski         Pike Ave at River Rd, North Little Rock       30      62          27
Pulaski         Remount Rd, North Little Rock                 60      65          35
Washington      600 South Old Missouri Road                   60       57         40




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                                                                                                                                   7
Figure B-7 Trends in Twenty-Four-Hour Maximum PM10 Concentrations

                                              180

                                              165

                                              150
    Twenty-Four Hour Second Maximum (μg/m3)




                                              135

                                              120

                                              105                                                                                                           >NAAQS

                                              90                                                                                                            <NAAQS
                                                                                                                                                            Washington
                                              75
                                                                                                                                                            Pulaski
                                              60

                                              45

                                              30

                                              15

                                               0            T          T          T          T          T          T          T          T

                                                     2009       2010       2011       2012       2013       2014       2015       2016       2017   2018



COUNTY     2009 2010 2011 2012 2013 2014 2015 2016 2017 2018 SLOPE                                                                                           R2
Pulaski     36   38   47   36   67   45   47 44 36       51 0.7091                                                                                         0.0506
Washington                                          44 40     NA*                                                                                           NA*




7
 The monitor installed in Washington County was installed in 2017. Because there are not at least three data points, DEQ
did not perform a trends analysis for this monitor.



                                                            ARKANSAS                                                                                                  | B-12
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Fine Particulate Matter (PM2.5)

                                  Monitor Network

Pollutant:          PM2.5

Method:             Gravimetric

Data Interval:      Twenty-Four Hour

Units:              Micrograms per cubic
                    meter (µg/m3)
                                                                                  Out-of-state
                                                                                     monitor:
                                                                                   Roland, OK




Arkansas is in attainment with all PM2.5 NAAQS.         NAAQS DESIGN VALUE
This attainment status is based on results from the
                                                       ANNUAL PRIMARY AND NAAQS
Arkansas PM2.5 ambient air monitoring network.        Twelve micrograms per cubic meter
Table B-7 provides a summary of PM2.5 monitor         (12 µg/m3), annual mean averaged
activity for 2018. Figures B-8 and B-9 illustrate     over three years
trends over the past ten years in PM2.5 design         ANNUAL SECONDARY NAAQS
values relative to the corresponding, concurrent      Fifteen micrograms per cubic meter
primary NAAQS.                                        (15 µg/m3), annual mean averaged
                                                      over three years
                                                       TWENTY-FOUR HOUR PRIMARY
                                                          AND SECONDARY NAAQS
                                                      Thirty-five micrograms per cubic
                                                      meter (35 µg/m3), ninety-eighth
                                                      percentile, averaged over three years




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Table B-7 2018 Arkansas PM2.5 Monitor Values Summary Data

                                                                    TWENTY-FOUR-HOUR   ANNUAL
COUNTY                      SITE ADDRESS                    # OBS    98TH PERCENTILE    MEAN
                                                                         (µg/m3)       (µg/m3)
Arkansas      1703 N Beurkle St - US Hwy 63, Stuttgart       118            19           8.3
Ashley        1015 Unity Rd, Crossett                        121            21           8.1
Crittenden    LH Polk St and Colonial Dr, Marion             122            20           8.8
Garland       300 Werner St, Hot Springs                     121            19           8.3
Garland       300 Werner St, Hot Springs                      30            29             9
Jackson       7648 Victory Blvd, Newport                     122            20            7.9
Polk          Hornbeck Rd, Mena                              120            20           8.6
Pulaski       Pike Ave at River Rd, North Little Rock        357            21           9.3
Pulaski       Pike Ave at River Rd, North Little Rock         30            25           10.3
Pulaski       Doyle Springs Rd, Little Rock                  121            22            9.7
Union         Union Memorial Hospital, El Dorado             119            21           8.8
Washington    600 S Old Missouri Rd, Springdale              122            25           8.4




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Figure B-8 Trends in Annual PM2.5 Design Values

                                  18


                                  16

                                                                                                                                                             >NAAQS
                                  14
                                                                                                                                                             <NAAQS
   Annual Design Values (μg/m3)




                                  12                                                                                                                         Arkansas
                                                                                                                                                             Ashley
                                  10                                                                                                                         Crittenden
                                                                                                                                                             Garland
                                   8
                                                                                                                                                             Jackson

                                   6                                                                                                                         Polk
                                                                                                                                                             Pulaski
                                   4                                                                                                                         Union
                                                                                                                                                             Washington
                                   2


                                   0             T           T           T           T           T           T

                                         07-09       08-10       09-11       10-12       11-13       12-14       13-15       14-16   15-17   16-18



  COUNTY                                  07-09 08-10 09-11 10-12 11-13 12-14 13-15 14-16 15-17                                                  16-18      SLOPE       R2
Arkansas                                   11.2        10.9         10.7        10.8        10.1         9.5         9.2         8.8     8.3         8.1    -0.3697 0.9684

Ashley                                     10.7        10.4        10.6         10.8        10.1         9.3         8.7         8.4     8.2         8.2    -0.3394 .8829

Crittenden                                 11.7        11.1         11.1        11.2        10.6         9.8         9.3         8.8     8.4         8.4    -0.4036 0.9476

Garland                                    11.1        10.7        10.8          11         10.5         9.7             9       9.4     9.5         8.4    -0.2818 0.8348

Jackson                                    10.8        10.5        10.8         10.8        10.5         9.8         9.2         8.6     8.2         8.1    -0.3448 0.8775

Polk                                       10.8        10.5        10.8         10.8        10.5         9.8         9.2         8.6     8.2         8.3    -0.3339 0.8708

Pulaski                                    12.1         12          12.1        12.2        11.7        11.1         10.7        10.5    10.5        9.7    -0.2739 0.8890

Union                                      11.2        10.8         11.1        11.4        10.7         9.8         9.1         8.9     8.9         8.9    -0.3200 0.8318

Washington                                             10.7          11         10.8        10.2         9.2         8.6         8.2     7.9         8.1    -0.4417 0.9067




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Figure B-9 Trends in Twenty-Four Hour PM2.5 Design Values

                                   50


                                   45


                                   40
                                                                                                                                                                >NAAQS
                                   35                                                                                                                           <NAAQS
   24-Hour Design Values (μg/m3)




                                                                                                                                                                Arkansas
                                   30                                                                                                                           Ashley
                                                                                                                                                                Crittenden
                                   25
                                                                                                                                                                Garland
                                                                                                                                                                Jackson
                                   20
                                                                                                                                                                Polk

                                   15                                                                                                                           Pulaski
                                                                                                                                                                Union
                                   10                                                                                                                           Washington


                                    5


                                    0             T           T           T           T           T           T           T           T           T

                                          07-09       08-10       09-11       10-12       11-13       12-14       13-15       14-16       15-17       16-18



   COUNTY                                  07-09 08-10 09-11 10-12 11-13 12-14 13-15 14-16 15-17 16-18 SLOPE     R2
Arkansas                                    26    24    22    21    21    21    21    20.0 18.0   18    -0.7515 0.8693
Ashley                                      23    21    22    23    23    22    20    19.3 16.3   18 -0.6145 0.6437
Crittenden                                  28    24    22    23    23    24    22    20.0 16.3   17 -0.9994 0.7669
Garland                                     24    21    21    22    21    21    20    19.0 20.3   17 -0.5085 0.7082
Jackson                                     25    23    22    22    21    21    21    21.3 19.7   20 -0.4521 0.7962
Polk                                        24    21    21    22    23    23    21    20.0 18.3   19 -0.4358 0.5264
Pulaski                                     29    25    25    25    27    26    24    21.7 21.0   21    -0.7303 0.7088
Union                                       23    22    22    23    23    21    20    18.3 18.0   18 -0.6212 0.7959
Washington                                        22    23    22    21    20    19    18.7 16.7   19 -0.6583 0.8035




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Visibility Conditions Monitoring in Protected Areas

Regional Haze
The Clean Air Act mandates that the
states and federal partners work to
restore pristine visibility conditions in
designated Class I areas and prevent
future visibility impairment. There are 156
Class I areas, which include national
parks, wildlife refuges, and wilderness
areas. States, EPA, and federal land
managers are charged to work together
to monitor and address visibility
impairment from anthropogenic sources.           Ozone tO( l
                                                                     ,
                                                 Nitrogen Oxides (NO I

The Regional Haze Program was
established by EPA pursuant to this Clean
Air Act mandate. Under the Regional              •   •   •               •
Haze Regulations, states must develop                            «




plans covering ten year periods with the
goal of achieving natural visibility
conditions at designated Class I areas by
2064.
                                              National Park Service (1999) “Introduction to Visibility”

Interagency Monitoring of Protected Visual Environments Monitoring Network
The IMPROVE network is a long-term
monitoring program that tracks changes
in visibility. The IMPROVE monitors are
capable of speciation of haze-causing
pollutants so that the causal mechanism
of visibility impairment in each Class I
area can be determined.
There are two IMPROVE monitors in
Arkansas: one near the Caney Creek
Wilderness Area and the other in the
Upper Buffalo Wilderness Area.
                                              Forest Service Caney Creek IMPROVE monitor (CACR1)




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Caney Creek Wilderness Area




 Caney Creek – Twenty Percent Most Impaired Days, 2002:                 Caney Creek – Twenty Percent Most Impaired Days, 2017:
        Winhaze Visual Air Quality Modeler Image                               Winhaze Visual Air Quality Modeler Image

Figure B-10 shows annual visibility tracking metrics for the twenty percent most
impaired days at Caney Creek. Visibility impairment on the most impaired days has
decreased over time at Caney Creek as light extinction due to ammonium sulfate,
organic mass, and elemental carbon has decreased. Light extinction due to ammonium
nitrate, coarse mass, and soil has fluctuated over time, but no apparent trend is evident.
Light extinction due to sea salt has increased over time.
Figure B-10 Annual Extinction Composition, Most Impaired Days, 2002-2018: Caney Creek Wilderness Area

      200                                                                                        32




      150                                                                                        24
 E                                                                                                         #   Ammonium Nitrate

                                                                                                               Ammonium Sulfate
 c                                                                                                    O
 o                                                                                                    CD       Coarse Mass
                                                                                                    Q.
 £    100                                                                                        16 <
                                                                                                      CD   #   Elemental Carbon
 HI
                                                                                                      £
                                                                                                           #   Organic Mass
 O)
                                                                                                               Sea Salt
      50                                                                                         8
                                                                                                           #   Soil
                                                                                                               DV (Impairment )

        0                                                                                        0




            IMPROVE Monitor: CACR 1; Class I Areas: Caney Creek Wilderness




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Upper Buffalo Wilderness Area




Upper Buffalo, Twenty Percent Most Impaired Days, 2002:                 Upper Buffalo, Twenty Percent Most Impaired Days, 2017:
       Winhaze Visual Air Quality Modeler Image                                Winhaze Visual Air Quality Modeler Image

Figure B-11 shows annual visibility tracking metrics for the twenty percent most
impaired days at Upper Buffalo. Visibility impairment on the most impaired days has
decreased over time at Upper Buffalo as light extinction due to ammonium sulfate—
and to a lesser extent coarse mass, elemental carbon, organic mass and soil—has
decreased. Light extinction due to ammonium nitrate has fluctuated over time, but no
trend is apparent.

Figure B-11 Annual Extinction Composition, Most Impaired Days, 2000-2018: Upper Buffalo Wilderness Area

       240                                                                                        32




       180                                                                                        24
 E                                                                                                          #   Ammonium Nitrate

                                                                                                                Ammonium Sulfate
 c                                                                                                     O
 o                                                                                                     CD       Coarse Mass
 ‘ 3
 ^w 120                                                                                              2.
                                                                                                  16 <
                                                                                                       CD
                                                                                                       $
                                                                                                            #   Elemental Carbon
 LU
                                                                                                            #   Organic Mass
 cn
                                                                                                                Sea Salt
       60                                                                                         8
                                                                                                            #   Soil
                                                                                                                DV ( Impairment)

         0                                                                                        0
                   N                                            N''      \fb
                                                 rp
                                                                                          0?
                                                 ^                                    ^
             IMPROVE Monitor: UPBU1; Class I Areas: Upper Buffalo Wilderness




                         ARKANSAS                                                                                           | B-19
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Appendix C: Emissions Inventory Trends
National Emissions Inventory                   EMISSION SOURCE
                                                                          EXAMPLES
                                               CATEGORY
Every three years, the United States           Point           Larger Stationary Sources
                                                               Residential heating, solvents,
Environmental Protection Agency (EPA),         Nonpoint
                                                               agriculture, road dust
in collaboration with the states, collects     Biogenic        Crops, lawns, trees, soils
data on criteria pollutant emissions. EPA                      Passenger vehicles, trucks,
publishes the data in the National             Onroad
                                                               buses
Emissions Inventory (NEI), which provides                      Aircraft, locomotive, marine
                                               Nonroad
information     about    the    estimated                      vessels
emissions of criteria pollutants and their     Event           Wildfires, prescribed burns
precursors from various source categories.
The Division of Environmental Quality
(DEQ) provides EPA with emissions
estimates reported by larger stationary
sources for inclusion in the NEI. EPA
estimates emissions from smaller
stationary sources, nonpoint sources,
                                                  ANTHROPOGENIC VS NATURAL
biogenic sources, mobile sources, and             EMISSIONS
event sources.
                                                 ANTHROPOGENIC SOURCE EMISSIONS
The nonpoint source category includes          All point sources, nonroad sources, and onroad
small stationary sources too small to          sources are anthropogenic sources of
report as point, as well as biogenic           emissions. Most nonpoint sources, with the
                                               exception of biogenic sources, are considered
sources—vegetation and other natural
                                               anthropogenic sources.
sources of emissions. The mobile source
category is split into two subcategories:        NATURAL SOURCE EMISSIONS
                                               All biogenic sources are natural sources of
onroad vehicles and nonroad vehicles.
                                               emissions. Event sources—such as volcanic
Wildfires and prescribed burns fall into the   emissions, dust storms, and wild-fires—are
event category.                                also natural emissions sources. There is some
                                               disagreement as to whether prescribed burns
This Appendix presents trends in
                                               should be considered anthropogenic. For this
anthropogenic emissions for the three          trends analysis, all event sources are
most recent NEI years: 2011, 2014, and         considered natural.
2017.




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Trends in Anthropogenic Nitrogen Oxides Emissions
                                                             Figure C-1 2014 Relative Contribution of Anthropogenic
Nitrogen oxides (NOx) are precursors for                     NOx Emissions in Arkansas by Source Category
multiple criteria pollutants including ozone
and fine particulate matter (PM2.5).
Approximately eighty-eight percent of
total NOx emissions in Arkansas come
                                                                                                           Nonpoint
from anthropogenic sources.8 The primary                                                                     19%
                                                                                       Point
anthropogenic contributors to NOx                                                      36%
emissions in Arkansas are mobile                                                                                    Nonroad
sources—particularly onroad vehicles—                                                                                 9%
and point sources.
Overall,    NOx      emissions     from
anthropogenic sources decreased by eight                                                                  Onroad
percent between 2008 and 2014.9 Onroad                                                                     36%
NOx      emissions     decreased      by
approximately seventeen percent, non-
road NOx emissions decreased by twenty-                      Figure C-2 Trends in Anthropogenic NOx Emissions in
four percent, and point source NOx                           Arkansas by Data Category
emissions decreased by two percent                                            250,000
between 2008 and 2014. Nonpoint source
NOx      emissions     increased      by                                      200,000
approximately eighteen percent between
                                                              Tons Per Year




2008 and 2014.                                                                150,000


                                                                              100,000


                                                                               50,000


                                                                                   -                  T             T

                                                                                               2008        2011         2014

                                                                                Nonpoint        Nonroad     Onroad      Point




8
 Source: 2014 National Emissions Inventory version 1
9
 Source: 2008 National Emissions Inventory version 3, 2011 National Emissions Inventory version 2, 2014 National
Emissions Inventory version 1



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Trends in Anthropogenic Volatile Organic Compound Emissions
                                                             Figure C-3 2014 Relative Contribution of Anthropogenic
Volatile organic compounds (VOCs) are                        VOC Emissions in Arkansas by Source Category
precursors for ozone. Only ten percent of
total VOC emissions in Arkansas come
from anthropogenic sources.10 Emissions
from nonpoint sources comprise the                                                        Point
                                                                                          15%
largest portion (fifty-three percent) of the
Arkansas anthropogenic VOC emissions
inventory.                                                                       Onroad
                                                                                  17%
Overall,     VOC        emissions      from                                                                 Nonpoint
anthropogenic sources in Arkansas                                                                             53%

decreased by approximately twelve
                                                                                       Nonroad
percent between 2008 and 2014.11                                                        15%
Emissions     from      nonpoint     sources
increased by six percent between 2008
and 2014. Emissions from nonroad,
onroad, and point sources decreased                          Figure C-4 Trends in Anthropogenic VOC Emissions in
during the same time period. The largest                     Arkansas by Data Category
reduction (thirty-five percent) in emissions                             180,000
occurred in the on-road source category.
                                                                         160,000

                                                                         140,000
                                                              Tons Per Year




                                                                         120,000

                                                                         100,000

                                                                              80,000

                                                                              60,000

                                                                              40,000

                                                                              20,000

                                                                                  -               T          T

                                                                                         2008         2011       2014
                                                                                Nonpoint   Nonroad      Onroad   Point




10
 Source: 2014 National Emissions Inventory version 1
11
 Source: 2008 National Emissions Inventory version 3, 2011 National Emissions Inventory version 2, 2014 National
Emissions Inventory version 1



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Trends in Anthropogenic Carbon Monoxide Emissions
                                                              Figure C-5 2014 Relative Contribution of Anthropogenic
Overall, CO emissions from anthropogenic                      CO Emissions in Arkansas by Source Category
sources decreased by thirty-five percent
between 2008 and 2014.12 Onroad and
nonroad CO emissions dropped sharply by                                                        Point
approximately forty-five percent and                                                            8%         Nonpoint
thirty percent, respectively. Nonpoint CO                                                                    17%
emissions decreased by approximately
thirteen percent between 2008 and 2014
and point CO emissions decreased by
approximately eight percent.                                                                                      Nonroad
                                                                                    Onroad                         27%
Carbon monoxide (CO) is both a criteria                                              48%

pollutant and a precursor for ozone.
Approximately forty-three percent of total
Arkansas CO emissions come from
anthropogenic sources.13 Emissions from
onroad sources comprise the largest                           Figure C-6 Trends in Anthropogenic CO Emissions in
portion (forty-eight percent) of the                          Arkansas by Data Category
                                                                 900,000
Arkansas anthropogenic CO emissions
inventory.                                                                     800,000

                                                                               700,000

                                                                               600,000
                                                               Tons Per Year




                                                                               500,000

                                                                               400,000

                                                                               300,000

                                                                               200,000

                                                                               100,000

                                                                                    -                  T              T

                                                                                             2008          2011           2014
                                                                                  Nonpoint     Nonroad      Onroad        Point




12
   Source: 2008 National Emissions Inventory version 3, 2011 National Emissions Inventory version 2, 2014 National
Emissions Inventory version 1
13
   Source: 2014 National Emissions Inventory version 1



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Trends in Anthropogenic Sulfur Dioxide Emissions
                                                              Figure C-5 2014 Relative Contribution of Anthropogenic
Overall,     SO2      emissions       from                    SO2 Emissions in Arkansas by Source Category
anthropogenic sources decreased by                                                                      Nonpoint Nonroad
approximately three percent between                                                                       1%       0% Onroad
                                                                                                                         0%
2008 and 2014. SO2 emissions from point
sources decreased by approximately two
percent.14 SO2 emissions from onroad
sources decreased by fifty-six percent. SO2
emissions    from     nonroad       sources
decreased by ninety-one percent. SO2
emissions    from     nonpoint      sources
                                                                                            Point
increased from 2008 to 2011, but                                                            99%
decreased by thirty-nine percent between
2008 and 2014.
Sulfur dioxide (SO2) is both a criteria                       Figure C-6 Trends in Anthropogenic SO2 Emissions in
pollutant and a precursor for fine                            Arkansas by Data Category

particulate matter (PM2.5). Virtually all SO2
                                                                        100,000
emissions come from anthropogenic                                              90,000
sources.15 Emissions from point sources                                        80,000
comprise the largest portion (ninety-nine                                      70,000
                                                               Tons Per Year




percent) of the Arkansas anthropogenic                                         60,000
                                                                               50,000
SO2 emissions inventory.
                                                                               40,000
                                                                               30,000
                                                                               20,000
                                                                               10,000
                                                                                   -                T             T

                                                                                            2008          2011        2014
                                                                                 Nonpoint      Nonroad     Onroad     Point




14
   Source: 2008 National Emissions Inventory version 3, 2011 National Emissions Inventory version 2, 2014 National
Emissions Inventory version 1
15
   Source: 2014 National Emissions Inventory version 1



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Trends in Anthropogenic Coarse Particulate Matter Emissions
                                                             Figure C-7 2014 Relative Contribution of Anthropogenic
Coarse particulate matter (PM10) is a                        PM10 Emissions in Arkansas by Source Category
criteria pollutant. Approximately ninety-
                                                                              Onroad    Point
one percent of Arkansas PM10 emissions                                                   2%
                                                                               1%
come from anthropogenic sources.16
Emissions     from    nonpoint     sources                           Nonroad
comprise the largest portion (ninety-seven                             0%

percent) of the Arkansas anthropogenic
PM10 emissions inventory.
Overall,      Arkansas        experienced
approximately a forty-one percent
increase in PM10 emissions from                                                                              Nonpoint
                                                                                                               97%
anthropogenic sources between 2008 and
2014.17 Emissions from point and nonroad
source categories decreased. Nonpoint
source emissions increased by forty-three
percent and onroad emissions increased                       Figure C-8 Trends in Anthropogenic PM10 Emissions in
by twenty-six percent.                                       Arkansas by Data Category


                                                                              600,000

                                                                              500,000

                                                                              400,000
                                                              Tons Per Year




                                                                              300,000

                                                                              200,000

                                                                              100,000

                                                                                   -
                                                                                            2008          2011          2014
                                                                                 Nonpoint       Nonroad    Onroad    Point




16
 Source: 2014 National Emissions Inventory version 1
17
 Source: 2008 National Emissions Inventory version 3, 2011 National Emissions Inventory version 2, 2014 National
Emissions Inventory version 1



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Trends in Anthropogenic Primary Fine Particulate Matter Emissions
                                                             Figure C-9 2014 Relative Contribution of Anthropogenic
Primary fine particulate matter (primary                     PM2.5 Emissions in Arkansas by Data Category
PM2.5) is the condensable and filterable                                                    Onroad
fraction that is directly emitted from                                    Nonroad            2%
sources. Primary PM2.5 does not include                                     2%
                                                                                                Point
secondary PM2.5 formed downwind by                                                               6%
reactions between precursor pollutants,
such as nitrogen oxides (NOx), sulfur
dioxide (SO2), and ammonia (NH3).
Approximately sixty-nine percent of
primary PM2.5 emissions in Arkansas come
from anthropogenic sources.18 Emissions
from nonpoint sources comprise the                                                                       Nonpoint
largest portion of the Arkansas                                                                            90%

anthropogenic primary PM2.5 emissions
inventory.
Overall, primary PM2.5 emissions increased                   Figure C-10 Trends in Anthropogenic PM2.5 Emissions in
between 2008 and 2014 as a result of an                      Arkansas by Source Category

increase in emission estimates from the
nonpoint source category and from two                                         120,000

sectors not regulated by DEQ or EPA:                                          100,000
agriculture—crop and livestock dust—and
unpaved road dust.19 Emissions from                                           80,000
                                                              Tons Per Year




point, onroad, and nonroad source
                                                                              60,000
categories decreased.
                                                                              40,000

                                                                               20,000

                                                                                   -
                                                                                             2008        2011        2014
                                                                                 Nonpoint      Nonroad    Onroad    Point




18
 Source: 2014 National Emissions Inventory version 1
19
 Source: 2008 National Emissions Inventory version 3, 2011 National Emissions Inventory version 2, 2014 National
Emissions Inventory version 1



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Trends in Anthropogenic Ammonia Emissions
                                                   Figure C-11 2014 Relative Contribution of Anthropogenic
Ammonia (NH3) is a precursor for fine              PM2.5 Emissions in Arkansas by Data Category
particulate matter (PM2.5). Approximately                                    Point
                                                        Onroad
eighty-nine percent of NH3 emissions in                  1%                   3%
Arkansas come from anthropogenic
sources.20 Emissions from nonpoint                      Nonroad
                                                          0%
sources comprise the largest portion
(ninety-six percent) of the Arkansas
anthropogenic NH3 emissions inventory
from source categories regulated by state
and federal air quality programs.21
Overall,     NH3       emissions     from                                                        Nonpoint
anthropogenic sources decreased by                                                                 96%
approximately      thirty-nine    percent
between 2008 and 2014. The overall
decrease in NH3 emissions resulted from a
forty percent decrease in nonpoint source          Figure C-12 Trends in Anthropogenic PM2.5 Emissions in
NH3 emissions between 2008 and 2014.               Arkansas by Data Category
Onroad sources of NH3 emissions also
decreased between 2008 and 2014.                                   140,000
Nonroad and point source emissions                                 120,000
increased between 2008 and 2014.
                                                                   100,000
                                                   Tons Per Year




                                                                   80,000

                                                                   60,000

                                                                    40,000

                                                                    20,000

                                                                        -
                                                                                 2008          2011         2014
                                                                      Nonpoint       Nonroad    Onroad      Point




20
     2014 National Emissions Inventory version 1
21
     Id.



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Carbon Dioxide Trends
                                                        C-13 Arkansas 2017 Relative Carbon Dioxide Emissions By
Carbon dioxide (CO2) accounts for 82%                   Energy-Related Sector (EIA State Carbon Dioxide Emissions
of all United States anthropogenic                      Data)

greenhouse       gas      emissions.22
Greenhouse gases trap heat in the                                                                              5%

atmosphere.
                                                                                            30%
CO2 is naturally present in the
atmosphere, but is also emitted by
human activities, including fossil fuel
combustion, industrial processes, and                                                                                        50%
land-use changes.
                                                                                             13%
The United States Energy Information
Administration      (EIA)    inventories                                                       2%
energy-related CO2 emissions. In                                                          Commercial                Electric Power
Arkansas, the largest source of                                                           Residential               Industrial
anthropogenic CO2 emissions is the                                                        Transportation

electric power sector followed by the
                                                        C-14 2008–2017 Trends in Energy-Related CO2 Emissions in
transportation sector. Over the past                    Arkansas (EIA State Carbon Dioxide Emissions Data)
decade, CO2 emissions from the                                                       80
electric power sector in Arkansas have
                                                                                     70
increased, reaching a peak of 35.9
                                                           Million metric tons CO2




million metric tons in 2013. Emissions                                               60

from Arkansas’s power sector declined                                                50
in 2015, but have trended upward since                                               40
2016. CO2 emissions from the                                                         30
transportation sector decreased from
                                                                                     20
2008-2013, but have increased slightly
                                                                                     10
each year since. The industrial sector in
has decreased its CO2 emissions over                                                  0
the past decade. The residential sector
and commercial sector make up much
                                                                                              Residential                  Commercial
smaller portions of the energy-related                                                        Industrial                   Transportation
CO2 emissions inventory in Arkansas.                                                          Electric Power




22
     EPA (2017). “Overview of Greenhouse Gases” https://www.epa.gov/ghgemissions/overview-greenhouse-gases



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Appendix D: 2019 Ozone Season Summary
Introduction

Ozone is a gas that can be beneficial or                   Symptoms of
harmful, depending on where it is found.                  Ozone Exposure
In the stratosphere, ozone forms a                                             eadache
protective layer that shields the planet    Burning eyes;
from ultraviolet rays. At ground level,     irritated mucous                  Shortness of
ozone is unhealthy to breathe and can       membranes                         breath; wheezing;
                                                                              coughing
trigger    various    respiratory    and
                                            Asthma attacks;
cardiovascular health problems. Ground                                              Increased
                                            chest pain;                             risk of
level ozone also has negative impacts on    increased risk                          heart attacks
vegetation and ecosystems.                  of respiratory
                                            disease
Ground level ozone is produced via                                                  Pulmonary
                                                                                    inflammation
photochemical      reactions    involving
nitrogen oxides (NOx), volatile organic
compounds (VOCs), and sunlight. Local
meteorology—including        temperature,
wind speed and direction, humidity, solar
radiation, and cloud cover—affects ozone
formation.
The United States Environmental
Protection Agency (EPA) has established
a national ambient air quality standard
(NAAQS) for ozone at a level of 70 ppb
(0.070 ppm) to protect public health and
welfare. The Division of Environmental
Quality (DEQ) monitors air quality in
Arkansas and implements a permitting
program to ensure that sources of
precursor compounds, such as NOx and
VOCs, do not interfere with attainment
and maintenance of the ozone NAAQS.
                                              Photo of healthy (top) and ozone-injured (bottom)
                                                tulip poplar tree foliage. National Park Service




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Ozone Season
                                                              Table D-1 AQI Breakdown for the 8-Hour Ozone NAAQS
Between May 1 and September 30 each
year, conditions are typically more                               LEVELS OF
                                          INDEX   8-HOUR OZONE
                                                                   HEALTH
conducive for ozone formation than at VALUES AVERAGE (ppm)        CONCERN
other times of the year. This period is 0–50    0.000–0.054    Good
known as ozone season.                  51–100  0.055–0.070    Moderate
                                                                                                Unhealthy for
During the ozone season, DEQ reports 101–150 0.071–0.085       Sensitive Groups
current air quality conditions and 151–200 0.086–0.105         Unhealthy
forecasts day-ahead air quality conditions
for two major metropolitan areas in 201–300 0.106–0.200        Very Unhealthy
Arkansas: central Arkansas and northwest
Arkansas. The Tennessee Department of      Daily Air Quality Indices (AQI)
Environment and Conservation reports
and forecasts conditions in the Memphis
metropolitan area, which includes West
Memphis, Arkansas.
Current air quality conditions and
forecasts are presented to the public in
                                                                             CENTRAL        NORTHWEST
the form of the Air Quality Index (AQI).                                     ARKANSAS        ARKANSAS
The AQI ranges from 0–50023 with an
easy-to-recognize color system. The AQI
colors are intended to help people to
rapidly determine whether air pollutants                            Table D-2 Arkansas Yearly Highest Ozone AQI
are reaching unhealthy levels. Current                        AQI                   DATE
and next-day AQI for central and                              87                    5/31/2019
northwest Arkansas are posted daily on                        122                   6/6/2018
DEQ’s website24 and reported in the                           115                   6/9/2017
media. AQI for metropolitan areas                             100                   6/9/2016
throughout the nation are posted to                           100                   6/5/2015
EPA’s Air Now webpage.25                                      100                   7/22/2014




23
   For the 8-hour ozone standard, AQI values above 300 are not calculated.
24
   www.adeq.state.ar.us
25
   www.airnow.gov



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Ozone Action Days

Ozone Action Days is a central Arkansas        DOs AND DON’Ts FOR OZONE ACTION
                                               DAYS
program (coordinated through Metroplan
and DEQ’s Arkansas Clean Cities Program)     DOs
that is implemented in cooperation with     -Limit driving. Share a ride, carpool, walk, or
                                            ride the bus.
the OAQ, Arkansas Department of Health
                                            -Combine errands.
and the Arkansas Department of
                                            -Keep your car well-tuned.
Transportation.
                                            -Avoid “jackrabbit” starts (forceful
There are two types of ozone action days:   accelerations) or excessive idling.
                                            -Stay indoors as much as possible.
Ozone Action Advisory—Code Orange
                                             DON’Ts
Declared when AQI forecast is code          -Don’t do lawn and gardening chores that use
orange (AQI 101–150), indicating that       gasoline powered equipment.
prolonged   outdoor     exertion   is       -Don’t use oil-based paints and solvents.
UNHEALTHY FOR SENSITIVE GROUPS.             -Don’t use products that release fumes or
                                            evaporate easily.
Ozone Action Alert—Code Red
                                            -Don’t refuel or if you must refuel, do so after
Declared when the AQI forecast is code      dark and don’t fill the tank completely.
red (AQI 151–200), indicating that          -Don’t exercise outdoors.
prolonged exertion is UNHEALTHY FOR
EVERYONE.

DEQ 2019 Ozone Forecasting Accuracy
Ozone concentrations are forecasted daily
during the ozone season. The DEQ air
quality forecaster estimates ozone
concentrations using meteorological data
and recent pollutant concentrations.
During 2019, DEQ correctly forecasted
whether the next day would be an ozone
action day (Code Orange or Code Red)
one hundred percent of the time. ADEQ’s
accuracy for forecasting whether a day
would be good (AQI in Green range) or
Moderate (AQI in Yellow range) was
eighty-two percent.



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Central Arkansas 2019 Ozone Season Overview
                                                             Figure D-1 Central Arkansas 2019
Two ozone monitors collect data to determine the air         Ozone Season Monitored Days by
quality of Central Arkansas. Both are located in North                   AQI Color

Little Rock.
                                                                               7%
During ozone season 2019, there were no Code Orange
AQI days in Central Arkansas based on monitor data.
Three-hundred thirty-seven days were well below the
ozone NAAQS (AQI 0–50, Green). Monitored values for                          93%
twenty-five days in the 2019 ozone season fell in the AQI
range 0f 51–100 (Yellow).



Northwest Arkansas 2019 Ozone Season Overview
                                                            Figure D-2 Northwest Arkansas 2019
Two ozone monitors in Northwest Arkansas, one in             Ozone Season Monitored Days by
Springdale and the other in Fayetteville, collect ozone                  AQI Color

concentration data for northwest Arkansas. During ozone
season 2019, there were no Code Orange AQI days,                               7%

twenty-five yellow days, and three-hundred thirty-seven
green days based on monitor data.

                                                                             93%




Marion 2019 Ozone Season Overview
                                                               Figure D-3 Marion 2019 Ozone
There is one ozone monitor located in Marion, Arkansas,     Season Monitored Days by AQI Color
which is part of the Memphis metropolitan statistical                 0.3%          11.6
                                                                                     %
area.
During the 2019 ozone season, Marion had one Code
Orange AQI day, forty-two yellow days, and three-
hundred nineteen green days based on monitor data.
                                                                             88%




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2019 Running Design Values
                                                                 Table D-3 2017–2019 Running Ozone Design
Compliance with the ozone NAAQS is determined                    Values
based on design values for each monitor. The
                                                                                             RUNNING
design value for ozone is the fourth highest eight-                    MONITORING
                                                                                              DESIGN
                                                                        LOCATION
hour daily maximum averaged over three years. If                                              VALUE*
the design value for an area is below the level of the            Little Rock/North Little
                                                                                             0.062 ppm
NAAQS, the area is said to be in “attainment” with                Rock/Conway MSA
the NAAQS. If the design value is higher than the                 Memphis MSA                0.068 ppm
                                                                  Fayetteville/Springdal
NAAQS, the area is designated as “nonattainment”                                             0.062 ppm
                                                                  e/Rogers MSA
and the State must enact emission reduction                       Deer (Newton Co.)          ≤0.061 ppm
measures to bring the area back into attainment                   Eagle Mountain
with the NAAQS. Most monitors are located in                                                 ≤0.061 ppm
                                                                  (Polk Co.)
metropolitan statistical areas; however, Arkansas                 Caddo Valley
                                                                                             ≤0.061 ppm
does have a few rural monitors to provide data on                 (Clark Co.)
background conditions.                                           *The ozone NAAQS is 0.070 ppm (70 ppb).




                   Ozone monitors in Arkansas and on the periphery of adjacent states




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Arkansas Ozone Attainment Status
The entire state of Arkansas is in attainment for the 2015 ozone NAAQS and for all
other NAAQS.

                   Counties Designated "Nonattainment"
               for Clean Air Act's National Ambient Air Quality Standards ( NAAQS) *




                           *    •i                                                      *


                                                              %
                                                                   /
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                   r --                                                yt              11/30/2019
                                                    a




                                                                                to
                 Legend **
                      County     Designated Nonattainment   for 6 NAAQS Pollutants
                      County     Designated Nonattainment   for 5 NAAQS Pollutants
                      County     Designated Nonattainment   for A NAAQS Pollutants
                      County     Designated Nonattainment   for 3 NAAQS Pollutants
                     I    County Designated Nonattainment   for 2 NAAQS Pollutants
                     I    County Designated Nonattainment   for 1 NAAQS Pollutant




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